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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

ATLAS AIR, INC. and POLAR AIR CARGO
WORLDWIDE, INC.,                        Civil Action No.

                      Plaintiffs,       DECLARATION OF DARIN N. LEE,
                                        PH.D., IN SUPPORT OF
           v.                           PLAINTIFFS’ MOTION FOR A
                                        PRELIMINARY INJUNCTION
INTERNATIONAL BROTHERHOOD OF
TEAMSTERS; INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, AIRLINE
DIVISION; and AIRLINE PROFESSIONALS
ASSOCIATION OF THE INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, LOCAL
UNION NO. 1224,

                      Defendants.
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I.        QUALIFICATIONS & ASSIGNMENT

     1.    I am an economist and Executive Vice President in the Boston, Massachusetts office of

           Compass Lexecon, a consulting firm that specializes in the application of economics to

           legal and regulatory issues. I specialize in the economics of the airline industry, industrial

           organization, labor economics and auctions. My business address is 200 State Street, 9th

           Floor, Boston, Massachusetts, 02109. I have nearly 20 years of experience providing

           expert consulting services to numerous domestic and international airlines, industry trade

           associations and labor organizations on a wide variety of economic and statistical matters

           involving the airline industry including labor disputes, bankruptcy reorganization,

           mergers, alleged anti-competitive behavior, alliances and antitrust immunity, commercial

           disputes, seniority integration and business interruption matters.        I have published

           numerous empirical articles on various aspects of airline economics (including airline

           operational performance) in peer-reviewed, academic journals such as The Journal of

           Law & Economics, the Journal of Labor Economics, Economics of Transportation, and

           the Journal of Economics & Management Strategy. I also served as the editor of volumes

           1 and 2 of the Advances in Airline Economics book series, a collection of scholarly

           research papers on various aspects of airline economics published by Elsevier.


     2.    I have testified as an expert on the airline industry, statistics and labor economics—

           including in matters related to violations under the Railway Labor Act—in federal court

           and before numerous arbitration boards. I have also filed testimony before the U.S.

           Department of Transportation on matters related to the economics of the airline industry

           and have presented empirical analyses regarding various aspects of the airline industry


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          before the U.S. Department of Justice, the U.S. Department of State and numerous

          foreign competition and transportation authorities.


    3.    I received my Ph.D. in Economics from Brown University in 1998 and also hold an M.A.

          in Economics from Queen’s University in Kingston, Ontario and a B.Sc. in Economics

          from the University of Victoria, Canada. I have taught graduate level courses in

          economics at the University of Colorado-Denver. My curriculum vitae is attached to this

          declaration as Appendix A.


    4.    I have been retained by O’Melveny & Myers LLP, counsel for Atlas Air, Inc. and Polar

          Air Cargo Worldwide, Inc. (collectively hereinafter “Atlas” or “the Company”)1 to

          provide an independent statistical analysis of changes in pilot behavior that the Company

          has experienced since the collective bargaining unit for its pilots (the International

          Brotherhood of Teamsters (“IBT”), the IBT, Airline Division, and the Airline

          Professionals Association of the IBT, Local Union No. 1224 (“IBT Local 1224”))

          (collectively, the “Union”) sent notice to Atlas that it was initiating bargaining for a new

          collective bargaining agreement (“CBA”) and to determine the likelihood that the

          elevated level of these behaviors could have been the result of random statistical

          variation. I have also been asked to assess the extent to which these changes in pilot

          behavior have eroded the reliability of the Company’s operations, and in turn, have

          harmed the Company and its customers. Finally, I have been asked to assess the likely



1
  Atlas Air, Inc. is a wholly-owned subsidiary of Atlas Air Worldwide (“AAWW”), a holding
company that also owns 100% of Southern Air, Inc. (“Southern”), 50% of Polar and 100% of Titan
Aviation Holdings, Inc. (a company that is primarily engaged in leasing aircraft and engines to a
variety of airline customers). See Atlas Air Worldwide Holdings 2016 10-K.
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             implications on Atlas’s ability to retain its current customer base and exploit future flying

             opportunities if the current operational disruptions continue (much less worsen) during

             the upcoming peak holiday shopping−and hence−shipping season.


       5.    This declaration contains a statement of my opinions as well as the bases for those

             opinions, and is supported by the work that I have performed or supervised to date. The

             opinions set forth in this declaration are based upon my review and analysis of: (i)

             relevant documents and data in this matter as provided to me by counsel and the

             Company; (ii) relevant publicly available airline data sources including masFlight flight

             operations data for commercial airlines (“masFlight”) and the Official Airline Guide

             (“OAG”) airline schedule database; (iii) other relevant publicly available data and

             information sources including academic articles, filings made with the U.S. Securities

             and Exchange Commission (“SEC”), press releases, weekly rates of influenza from the

             U.S. Centers for Disease Control (“CDC”) and daily airport weather data from Weather

             Underground Inc.; (iv) conversations with Company officials; and (v) my own

             knowledge and experience from working with and conducting academic research on the

             aviation industry.2 My investigation and consideration of the issues in this matter are

             ongoing. Accordingly, my opinions are subject to revision based on the work I may

             complete in the future and further documents, data, testimony, and other materials I may

             review. My professional fees for this matter are $750 per hour and my compensation is

             not contingent on the outcome of this litigation.




2
    A list of documents and information sources considered is provided as Appendix B.
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II.        SUMMARY OF OPINIONS
      6.    Based on my review of the relevant issues, data and documents in this matter to date, I

            have formed the following opinions:


              x   Starting on or around February 16, 2016−the date that the Union sent its Section 6

                  notice to the Company3−several measures of behavior by Atlas’s pilots began to

                  exhibit significant changes relative to their historical norms. These changes in pilot

                  behavior include (among other things): (i) an increase in the proportion of pilot

                  sick calls made on short notice, (ii) an increase in the proportion of Atlas’s pilots

                  reporting themselves as being unable to perform their duties due to fatigue, (iii) a

                  decrease in the willingness by pilots to accept additional flying assignments (known

                  as “open time”), (iv) a sharp and widespread decline in the willingness of pilots to

                  depart once their aircraft is loaded and ready, and (v) a sharp increase in the

                  frequency that pilots are writing-up mechanical issues on aircraft under their

                  command.


              x   Economists and statisticians routinely rely upon a variety of tests to determine the

                  likelihood that an observed outcome (e.g., the number of pilot fatigue calls Atlas

                  experiences in a given month) lies within the range of random variation. The

                  changes in each of the measures of pilot behavior enumerated above since the

                  Union’s Section 6 notice is well in excess of what conventional statistical analysis




3
  Source: “Teamsters Send Section 6 Notice to Atlas Air, Southern Air,” PR Newswire, February
24, 2016. A notice pursuant to Section 6 of the Railway Labor Act (“RLA”) is a means for
initiating bargaining for a new CBA.
                                                    4
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               would consider to be “random” occurrences when compared to a historical base

               period. Moreover, several measures of pilot behavior have reached unprecedented

               levels since early 2016. For example, between January 2013 and February 2016,

               the overall proportion of pilot sick calls that occurred on short notice (i.e., on the

               same day as, including upon wakeup for, the pilot’s next duty period4) was 14.4%,

               with the monthly proportion reaching as high as 20.7% only once. However, just

               as 2016’s peak shipping season was beginning (i.e., in October 2016), the

               proportion of pilot sick calls occurring on short notice rose to unprecedented levels

               (25%) and have remained well above the average rate from the base period ever

               since. Overall, there have been ten months since the Union sent its Section 6 notice

               where sick calls occurring on short notice exceeded the prior high of 20.7%. Based

               on the historical base period of data for this measure of pilot behavior, the

               probability of observing ten months with this “outlier” rate of short-notice sick calls

               by Atlas’s pilots is less than one-in-one billion.


           x   Statistically anomalous rates of pilot behavior commencing after the Union sent its

               Section 6 notice is not limited to sick calls occurring on short notice. For example,

               since early 2016, there have been eight months with more than 17.8 fatigue calls

               per 1,000 active pilots (i.e., the highest observed monthly fatigue call rate prior to

               the Union sending its Section 6 notice). Based on standard statistical techniques,




4
  A “duty-period” is the time when a pilot is on duty and typically involves a flight or reserve
assignment, but can also include a pilot traveling to their flight assignment from his/her crew base
(known as “dead-heading”).
                                                 5
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               the probability of observing this many months since the Union sent its Section 6

               notice with “outlier” levels of fatigue calls is less than one-in-600,000.


           x   Likewise, since the Union sent its Section 6 notice, there has been a sharp decline

               in pilots’ willingness to pick up open time flying assignments. For example, during

               2015, Atlas crew schedulers were only required to make an average of 1.5 calls to

               pilots to fill an open time trip. The average number of calls required to fill open

               time trips increased to over two during the first eight months of 2016 and since

               September 2016, have averaged over three calls per open trip (i.e., twice their pre-

               Section 6 notice level).


           x   Short-notice sick calls, fatigue calls, or the inability to find a pilot willing to pick

               up open time flying assignments can result in prolonged flight delays. Unlike

               scheduled passenger carriers such as American, Delta or United, which operate

               hundreds of flights each day from their “hub” airports and therefore have large

               numbers of reserve pilots available to step in on short notice in the event of a sick

               or fatigue call, Atlas is a relatively small carrier, whose aircraft are typically spread

               out across the country and around the globe, including in many far-flung

               destinations.5 Because of Atlas’s smaller size and more decentralized network, the

               average delay associated with a short-notice sick call or fatigue call is

               approximately eight hours, but depending on where they occur, the delays can last



5
 Moreover, when a passenger flight is cancelled, airlines are typically able to re-book passengers
on the subsequent flight, re-route them by way of a different hub, or—in some circumstances—
arrange for them to fly on another carrier with limited disruption.


                                                  6
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               for days.6 While extended delays cause disruptions for all of Atlas’s customers,

               prolonged delays are also particularly damaging when they impact flights that Atlas

               operates for the U.S. military, as many of these flights carry U.S. servicemen and

               servicewomen (and other critical national security assets) to/from their

               deployments across the globe. When these flights are delayed, it can cause the

               nation’s military readiness to be put at risk, and/or result in distress among the

               families of U.S. servicemen and servicewomen returning home after months of

               overseas deployment.7 Prolonged delays are also extremely damaging to two of

               Atlas’s largest customers (DHL and Amazon), which operate “time-definite”

               networks to deliver merchandise and other time-sensitive packages to consumers

               and businesses around the world. The time-definite nature of these customers’

               operations rely on Atlas’s flights arriving on-time, either at their final destination

               airport, or to these customers’ “hubs” so that packages onboard those flights can be

               quickly sorted and re-loaded onto another flight transporting them to their final

               destinations. When a pilot-induced delay causes the contents onboard an Atlas

               flight to miss a customer’s “sort,” it can result in thousands of individual packages

               failing to reach their destinations on-time, resulting in an extreme loss of customer




6
 See, e.g., Declaration of Jeff Carlson (“Carlson Decl.”) ¶ 23 (discussing the implications of sick
or fatigue calls that occur in locations such as Sydney, Australia).
7
 See, e.g., Carlson Decl. ¶ 180 Ex. 97 (quoting an e-mail from the wife of a U.S. serviceman
whose flight was delayed): “You are an AMERICAN Contractor and it is your duty to get OUR
American SOLIDERS home safely and ONTIME. This is absolutely absurd they defend OUR
COUNTRY and YOUR FREEDOM in overseas wars or missions and your duty is to get them
home in a timely manner.”).


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                 goodwill among Atlas’s customers8 and sometimes triggering monetary penalties

                 for Atlas.9


             x   Changes in pilot behavior are not limited to those that result in long, highly-

                 disruptive delays. For example, starting around the time that the Union sent its

                 Section 6 notice, there has been a sharp and persistent decline in the willingness of

                 pilots to depart when their aircraft is loaded and ready. Based on a statistical

                 “regression” model that controls for the factors that systematically influence the

                 ability of pilots to depart when their aircraft is loaded and ready, the proportion of

                 Atlas’s flights departing when loaded and ready has plunged by 35.0 percentage

                 points since the Union sent its Section 6 notice, while the proportion of Atlas’s

                 flights departing exactly at the estimated time of departure increased by 31.9

                 percentage points. Both changes in behavior are statistically significant at the 99%

                 level of confidence,10 and coincide with several communications by the Union’s

                 leadership directing its members to engage in a “BOOT” (i.e., Block Out On-Time)

                 campaign.11 Overall, this orchestrated “BOOT” campaign has resulted in the




8
 See Ibid. ¶ 166 Ex. 89(citing a customer e-mail following a flight disruption that described how
a crew calling in sick caused a four-hour delay and “missed package connections and missed
customer promise.”).
9
    See Ibid. ¶¶ 176-77.
10
  It is standard practice among economists and statisticians to evaluate statistical significance
based at the 5% and 1% levels (alternatively, the 95% and 99% confidence levels). Thus, when
the probability of an observed value is greater than 5%, economists and statisticians typically
agree that the observed value could have been the result of random variation.
11
  See Carlson Decl. ¶ 64, Ex. 19 at 1:7-11, 2:4-6 (quoting a June 20, 2016 CBA Chat video
podcast, which stated: “BOOT stands for Block Out On Time. And starting immediately, your

                                                   8
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               average Atlas flight departing six minutes later than it would otherwise have

               departed under normal (i.e., status quo) pilot behavior.12 Because Atlas’s customers

               expect flights to depart once loaded and ready (even if this is before the flight’s

               estimated time of departure), the dramatic and statistically significant reduction in

               pilots’ willingness to depart when loaded and ready has resulted in a substantial

               erosion in the Company’s goodwill among several of its key customers, including

               Amazon and DHL,13 and puts the Company’s future relationship with those (and

               other) customers at risk.


           x   Similarly, since the Union sent its Section 6 notice, there has been a sharp and

               statistically significant increase in the rate at which pilots have been finding and

               “writing-up” maintenance discrepancies on aircraft. For example, a regression

               model that controls for the factors that are systematically related to the frequency

               of pilot maintenance write-ups shows that since February 16, 2016, there has been

               a 43.4 percentage point increase in pilot write-ups per flight on the 767 fleet and a

               10.3 percent increase in pilot write-ups on the 747 fleet.        Like the reduced

               willingness to depart once loaded and ready, this change in pilot behavior is

               statistically significant at the 99% confidence level. However, unlike the BOOT




EXCO are requesting that we all strive to block out on time, no early departures . . . By blocking
out on time, you are a shopper. And you’re promoting a safer and CBA compliant operation.”).
12
  Moreover, a regression model that controls for the factors that are systematically related to the
average taxi times shows that since February 16, 2016, there has been a 0.60 minute increase in
average taxi-in times and a 0.62 minute increase in average taxi-out times per flight.
13
    See Carlson Decl. ¶ 34 Ex. 86 (quoting an e-mail from a customer, which stated: “The
expectation was set to depart ASAP upon quick-turn of the aircraft to ensure an on-time arrival . .
. . The aircrew refused to depart until the ‘scheduled’ time set by Atlas (2039Z).”).
                                                 9
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               campaign, pilot-induced write-ups (like a pilot fatigue call, short-notice sick call or

               inability to find a pilot willing to pick up open time) can often lead to prolonged

               delays, and hence, greater disruption to Atlas and its customers.


           x   The sharp and statistically significant increase in various measures of pilot behavior

               that commenced on or after the Union sent its Section 6 notice coincides with a

               flurry of communications from the Union and its leadership encouraging its

               members to engage in an unlawful job action aimed at disrupting the Company’s

               operations. In addition to direct instructions by the Union’s leadership instructing

               its members to engage in the BOOT campaign, the Union has issued a number of

               communications encouraging pilots to take actions aimed at disrupting the

               Company’s operations in order to exert leverage on the Company.14


           x   In aggregate, the changes in pilot behavior that have occurred since the Union sent

               its Section 6 notice—at the direct urging of the Union—have resulted in a

               demonstrable adverse impact to the Company’s operational performance.               In




14
    See, e.g., Ibid. ¶ 49 Ex. 8 at 1:17-21 (quoting a February 15, 2016 ATAM, which stated: “Are
you going to continue to sell your talents for a quick buck, or are you going to stop doing the
Company favors and follow the CBA to the letter and give your EXCO and Negotiation Committee
the leverage and power they need today?”); Ibid. ¶ 48 Ex. 7 at 3:21-4:4 (quoting a Union video
communication to pilots, which stated “So always be safe. Don’t fly or train fatigued. Remember
. . . it’s your CBA. They signed it. You use it.”); Ibid. ¶ 55 Ex. 12 at 10:9-19 (quoting a March
31, 2016 ATAM, which stated: “What is SHOPing, you say? Well, it stands for Stop Helping
Out Purchase. And when we do this one thing, requiring some judgment on your part, and strictly
following the CBA, it emphasizes to management how important and valuable a well compensated
and highly motivated crew force can be to enhancing their operations and customer satisfaction.”);
Ibid. ¶ 61 Ex. 16 at 14:11-16, 17:3-4 (quoting a May 13, 2016 ATAM, which stated: “Atlas’
customers will not be happy if the planes stop flying. . . All we have to do is follow the CBA,
shop, and boot. And that’s what your Union asks of you.”).
                                                 10
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       addition to the highly persistent and widespread BOOT delays, a regression

       analysis controlling for the factors that systematically influence prolonged delays

       (i.e., those of at least six hours) indicates that since December 2016, the cumulative

       effect of changes in pilot behavior such as short-notice sick calls, fatigue calls,

       write-ups and a reduced willingness to pick-up open time has resulted in a 1.18

       percentage point increase in prolonged delays on all Atlas flights, and a 3.67

       percentage point increase on flights operated for the U.S. military.         Because

       prolonged delays under more normal periods of pilot behavior occur infrequently,

       a 1.18 percentage point increase in prolonged delays due to changes in pilot

       behavior equates to an overall increase in these highly disruptive delays of 83%,

       and for military flights, the 3.67 percentage point increase due to pilot behavior

       equates to an increase of over 200%. Overall, changes in pilot behavior have

       resulted in approximately 380 prolonged delays since December 2016, causing

       substantial disruption to Atlas’s customers and a substantial erosion in Atlas’s

       goodwill among its customers.


   x   In sum, based on the analysis summarized in this report, it is my opinion that the

       dramatic and statistically significant increase in numerous measures of pilot

       behavior that has resulted in a deterioration of the Company’s operating

       performance and the loss of goodwill among many of its key customers, is the result

       of a concerted job action by Atlas’s pilots aimed at exerting leverage on the

       Company during the current contract negotiations. Moreover, if this behavior

       continues—particularly in the period leading up to and including the peak holiday

       season—Atlas is at risk of suffering further and irreparable harm. This is because

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               Atlas competes in the highly competitive and largely commoditized market for

               providing outsourced cargo lift, whereby the Company’s customers can and do

               source lift from multiple carriers.15 For example, Amazon (Atlas’s fastest growing

               customer) sources identical “PrimeAir” flying services not only from Atlas, but also

               from two of Atlas’s competitors (ABX and ATI). If the contracted flight services

               provided by Atlas fail to meet Amazon’s (or any of Atlas’s other customers’)

               expectations with regards to reliability, the highly commoditized nature of offering

               outsourced cargo lift means that these customers can replace the services of poorly

               performing carriers with those of other carriers able to offer more reliable and

               dependable services.16


     7.   The remainder of my report is organized as follows. Section III provides a brief overview

          of Atlas’s operations. Section IV describes in detail my statistical analysis of the changes

          in various measures of pilot behavior that have occurred since the Union sent its Section

          6 notice in February 2016. Section V describes how these changes in pilot behavior have

          eroded the reliability of the Company’s operations, adversely impacting the Company’s



15
   For example, other carriers that participate in Long Range International Segment of the U.S.
Civil Reserve Air Fleet (“CRAF”) program (the U.S. Department of Defense’s program to procure
airlift from civilian carriers) include (among others), ABX Air, Air Transport International,
American Airlines, Delta Air Lines, Federal Express Airlines, Hawaiian Airlines, Kalitta Air
Cargo, National Air Cargo Group dba National Airlines, Omni Air International, Polar Air Cargo,
United Airlines, United Parcel Service and Western Global. See http://www.amc.af.mil/About-
Us/Fact-Sheets/Display/Article/144025/civil-reserve-air-fleet/http://www.amc.af.mil/About-
Us/Fact-Sheets/Display/Article/144025/civil-reserve-air-fleet/ (accessed on September 6, 2017).
16
  See, e.g., Carlson Decl. ¶¶ 163, 166 Ex. 84, 88 (citing customer e-mails, which stated:
“Understand these things can happen, but have never seen this with such a frequency on any other
operator” and “I am genuinely concerned about the rate at which Atlas pilots call fatigue compared
to all other [] air carriers [serving the customer]. On a flight-normalized basis, Atlas’s rate of
fatigue calls is more than four times higher than other carriers, combined.”).
                                                 12
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            reputation and resulting in a loss of customer goodwill. Section VI describes why it is

            reasonable to conclude that Atlas’s pilots will target the Company’s operations to exert

            even greater leverage during the upcoming peak shipping season, and why—if that were

            to occur—it could cause further and irreparable harm to the Company. Section VII

            briefly summarizes my conclusions.


III. OVERVIEW OF ATLAS’S OPERATIONS
       8.   Atlas is the world’s largest provider of outsourced, dedicated cargo aircraft services and

            operates a fleet of widebody Boeing 747 and 767 freighters,17 in addition to a smaller

            number of passenger aircraft.18 Atlas’s cargo customers include (among many others)

            the U.S. military, major integrated express package carriers such as DHL, UPS and

            FedEx, Amazon, global passenger carriers that want to supplement their cargo service

            capabilities beyond the belly space on their passenger aircraft using dedicated freighters

            (e.g., Qantas, Emirates, Cathay Pacific, Etihad, Asiana, etc.) and freight forwarding and

            logistics companies.19 Atlas’s passenger customers include the U.S. military (which

            relies heavily on Atlas to transport U.S. service-men and -women to and from their

            overseas deployments), college and professional teams traveling to and from major




17
   In addition, AAWW’s Southern Air subsidiary operates a fleet of widebody Boeing 777
freighters and narrowbody Boeing 737 freighters. See AAWW Investor Slides, September 2017,
page 15.
18
   As of July 2017, Atlas’s fleet consisted of 42 Boeing 747s (38 freighters and four passenger
aircraft) and 34 Boeing 767 aircraft (28 freighters and six passenger aircraft). See AAWW Investor
Slides, September 2017, page 1.
19
     Carlson Decl. ¶¶ 3-6.


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            sporting events, as well as a plethora of other customers in need of a widebody passenger

            charter aircraft to reach destinations throughout the country and around the globe.20


       9.   As a result of the diverse nature of Atlas’s customers and their unique air transportation

            needs, Atlas operated flights to 427 different airports in over 100 different countries over

            the last twelve months (as shown in Exhibit 1 below). By way of comparison, in 2017,

            the   largest   U.S.   passenger   carrier—American       Airlines—operated     flights   to

            approximately half as many (i.e., 54) countries.21




20
     See ibid.
21
     Source: OAG.


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                  EXHIBIT 1: AIRPORTS SERVED BY ATLAS, YEAR ENDING AUGUST 2017




 Source: Analysis of Atlas data.
 Note: Full year ending August 2017. Airports sized by number of Atlas departures.



       10. Historically, the core of Atlas’s business was focused on providing long-haul,

              intercontinental flights using Boeing 747 aircraft for a variety of commercial customers

              as well as the U.S. military.22 More recently, however, both the scope and size of Atlas’s

              operations has grown tremendously, necessitating the broadening of Atlas’s network and

              fleet.23 In particular, with the boom of e-commerce (both domestically and abroad), Atlas

              has become a leading provider of aircraft lift services to the world’s largest business-to-

              consumer online retailer (Amazon), as well as one of the largest global integrated express




22
  Until 2011, Atlas’s fleet was comprised exclusively of different variants of the Boeing 747
family of aircraft. Carlson Decl. ¶ 5.
23
     Ibid.


                                                                           15
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             package shippers (DHL).24 The importance of these two time-definite customers to

             Atlas—who collectively ship millions of packages each day to consumers and

             businesses—is shown in Exhibit 2 below.


                                   EXHIBIT 2: NUMBER OF ATLAS FLIGHT BY CUSTOMER




 Source: Analysis of Atlas data.



       11. As a result of the rapid growth of the Company’s operations in support of its e-commerce

             and express package customers, Atlas now operates—broadly speaking—two different

             “networks”:              the Company’s traditional long-haul, intercontinental network and a

             shorter-haul domestic network centered around Atlas’s 767s serving Amazon and DHL’s

             point-to-point and hub operations.25 Not only have these relatively shorter-haul domestic



24
     Ibid. ¶ 6.
25
     Ibid.
                                                           16
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             flights become a critical element for the continued expansion of e-commerce and the

             direct flow of merchandise between U.S. businesses to consumers that is transforming

             the U.S. economy, as shown in Exhibit 3, domestic operations now account for

             approximately 40% of Atlas’s flights, whereas in 2007, domestic operations constituted

             less than 20% of Atlas’s flights.


            EXHIBIT 3: PROPORTION OF ATLAS FLIGHTS BY DOMESTIC/INTERNATIONAL




Source: Analysis of Atlas data.
Note: Long haul international reflects international flights greater than 2,500 miles.



     12. While e-commerce and express package flights accounted for only a small handful of

             Atlas’s overall domestic and international operations in 2007, for the year ending August

             2017, domestic and international e-commerce and express package flights accounted for

             approximately half of all of the Company’s flights. Moreover, this proportion is expected

             to grow even more as Atlas continues to expand its fleet of Prime Air aircraft (767

                                                                          17
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             freighters operated exclusively for Amazon) from seven today to 20 by the end of 2018.26

             While the growth in Atlas’s e-commerce and express package segment of its business

             has resulted in a greater proportion of the Company’s flights operating on a more

             predictable schedule, it has also meant that this higher proportion of flights are operated

             for time-definite customers who depend on Atlas’s flights operating with an extremely

             high degree of reliably so that the packages onboard those flights can be delivered to their

             own customers at the promised time.


       13. Finally, as noted above, Atlas is a key supplier of both cargo and passenger lift to the

             U.S. military under the CRAF program, which augments the U.S. Department of

             Defense’s air lift capacity by allowing U.S. civil air carriers to operate flights for the U.S.

             military. Exhibit 4 shows airports served by Atlas flights on behalf of the U.S. Military.

             For the year ending August 2017, Atlas operated more than 5,000 flights on behalf of the

             U.S. military to 60 countries around the world, several of which were to critically-

             important U.S. military bases, such as Bagram Air Field in Afghanistan and Osan Air

             Base in South Korea.27




26
     Ibid.
27
     Analysis of Atlas flight data.
                                                      18
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      EXHIBIT 4: AIRPORTS SERVED BY ATLAS FLIGHTS ON BEHALF OF U.S. MILITARY, YE
                                     AUGUST 2017




 Source: Analysis of Atlas data.
 Note: Full year ending August 2017. Airports sized by number of Atlas departures.



      14. Notwithstanding the deep global reach of Atlas’s network and the increasing scope of its

              domestic operations, Atlas is a relatively small air carrier compared to the large U.S.

              passenger carriers, both in terms of the number of aircraft in its fleet and the number of

              daily flights it operates.28 Because of the smaller, but more geographically decentralized

              nature of its operations, Atlas—and its customers—are far more vulnerable to flight

              disruptions than passenger carriers. For example, unlike the long-haul international

              operations of passenger carriers such as American, Delta and United whose fleets of




28
  For example, while Atlas operated an average of 119 daily flights using 70 different aircraft in
August 2017, American—the largest U.S. passenger carrier—averaged over 6,000 daily flights
using a fleet of over 1,500 aircraft. Source: Analysis of Atlas data, OAG and American 2016 10-
K.
                                                                           19
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         international aircraft (and crews) are routed from their hubs to a single international

         destination and then back to a hub, the unique nature of Atlas’s business and customer

         base in the long-haul international segment of its operations means that its aircraft and

         crew are often away from base (and far from a potential reserve pilot) for well over a

         week, making the carrier uniquely susceptible to a pilot sick or fatigue call.


     15. Similarly, while Atlas typically operates a single flight on the vast majority of routes it

         serves on any given day, passenger carriers such as American, United and Delta offer

         multiple flights each day on the vast majority of their routes.29 As a result, when a

         passenger carrier is forced to cancel a flight due to mechanical or crew-availability

         reasons, passengers that are booked on that flight can typically be re-booked on a

         comparable flight later that day, or alternatively, routed over a different hub (e.g.,

         Chicago instead of Dallas on American or Detroit instead of Atlanta on Delta) to reach

         their final destination with limited disruption.30 While Atlas does not “cancel” flights in

         the same way that passenger carriers do, it has increasingly been forced to suffer

         prolonged delays (averaging 8 hours but often lasting much longer)31 as a result of pilot

         sick and fatigue calls, the pilots’ refusal to pick up open time, and unnecessary write-ups.




29
  For example, on August 19, 2017, the average number of flights per route served by Atlas was
1.1. In contrast, on August 19, 2017, the average number of flights per route served by American,
Delta and United was 3.0, 2.6, and 2.6, respectively. Source: OAG.
30
  In the case of international journeys, passengers whose flights are cancelled can often by re-
accommodated on an alliance partner’s flights (e.g., Lufthansa accommodating a United passenger
whose flight is cancelled).
31
  The average delay minutes attributable to crew sick and fatigue delays is approximately eight
hours. Source: analysis of Atlas data.


                                                20
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            In some instances, Atlas needs to fly in a relief pilot from another part of the world, who

            must then rest, and then complete the originally scheduled flight, several days later,

            causing substantial disruption (and potentially the spoilage of perishable cargo) for

            Atlas’s customer.32


IV. ANALYSIS OF CHANGES IN ATLAS PILOTS’ BEHAVIOR SINCE THE
    UNION SENT ITS SECTION 6 NOTICE
       16. Since the Union sent the Company its February 16, 2016 Section 6 notice, there have

            been a number of demonstrable and statistically significant changes in pilot behavior

            including (at a minimum): an increase in the proportion of sick calls on short notice, an

            increase in fatigue calls, a decline in pilots’ willingness to accept open time assignments,

            a decrease in pilots’ willingness to depart once loaded and ready, an increase in pilot

            write-ups, and slower taxi times.


a. Short-Notice Sick Calls

       17. Atlas—like all airlines—experiences some number of sick calls by pilots each day.

            While all sick calls necessitate the airline finding a replacement pilot, sick calls that are

            made on short notice (i.e., on the same day as, including upon wakeup for, the pilot’s

            next scheduled duty period) have a greater potential to cause disruptions to Atlas’s

            operations because the carrier has less time to locate a replacement pilot in the vicinity




32
     See Carlson Decl. ¶ 8.


                                                    21
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         of the affected flight.33 As shown in Exhibit 5, starting in late 2016, there has been a

         sharp increase in the proportion of pilot sick calls occurring on short notice.34 For

         example, Exhibit 5 shows that between January 2013 and February 2016, the overall

         proportion of pilot sick calls that occurred on short notice was 14.4%, with the highest it

         ever reached being 20.7%, which happened only once in November 2014. However,

         between October 1, 2016 and September 20, 2017, the proportion of pilot sick calls

         occurring on short notice increased to 23.8%, and there have been ten months since the

         Union sent its Section 6 notice with at least 20.7% of sick calls occurring on short notice

         (i.e., at or above the previous “high water” mark for short-notice sick calls).35




33
   For example, if a pilot calls in sick in Sydney, it generally takes the Company a day and a half
to two days to obtain a replacement crewmember since the crewmember must fly all the way to
Sydney and then get their required rest. See Ibid. ¶ 23.
34
   I exclude from the denominator any sick calls that were coded as “MED” after the date of the
pilot’s duty period.
35
  While Exhibit 5 looks at the proportion of pilot sick calls occurring on short notice, the short-
notice sick rate (i.e., short-notice sick calls divided by the number of pilots) has also increased
over the same period.
                                                22
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           EXHIBIT 5: PROPORTION OF PILOT SICK CALLS OCCURRING ON SHORT NOTICE

35%

                                                                                     IBT Section 6
30%                                                                                                                                            29%
                                                                                    Notice (2/16/16)
                                                                                                                                 26%                 26%
                                                                                                                               25%                         26%
25%                                                                                                                               24%     24%           24%
                                                                                                                                                22%
                                                                                                                                                  21%
                                                                 21%      20%                                Average = 20.4%
                        20%         20%                                                                                                  20%
20%                                             19%
                                                                                                     18%                  18%          18%
                          17%               17%                                        17%                  17%
              16%                                       16%                              16%
        15%     15% 15%                                                15%
                              Average = 14.4%                                         14% 15%    14% 14%                 15%
15%                                               14%                    14%
                  13%                                                               13%                          13%
           13%                  13%                                              1 3%
                              12% 12%                      12%      12%        12%                                 12%
                                                                                                           11%
                                                              11%
                                        10%
                                          10%
                                                                                                9%                   9%
10%                                                   9%

      6%

5%


0%
      Mar 2014


       Jul 2014




      Apr 2016
       Jul 2013




       Jul 2016
      Mar 2013
      Apr 2013



      Sep 2013




      Apr 2014



      Sep 2014




      Sep 2016




       Jul 2017
      Sep 2017
      Mar 2015
      Apr 2015

       Jul 2015
      Sep 2015




      Mar 2016




      Mar 2017
      Apr 2017
      Jan 2013
      Feb 2013


      Jun 2013
      Aug 2013
      Oct 2013
      Nov 2013
      Jan 2014
      Feb 2014


      Jun 2014
      Aug 2014
      Oct 2014
      Nov 2014
      Jan 2015
      Feb 2015


      Jun 2015




      Jan 2016
      Feb 2016


      Jun 2016
      Aug 2016
      Oct 2016
      Nov 2016
      Jan 2017
      Feb 2017


      Jun 2017
      Aug 2017
      May 2013




      Dec 2013



      May 2014




      Dec 2014




      Aug 2015
      Oct 2015
      Nov 2015
      May 2015




      Dec 2015



      May 2016




      Dec 2016



      May 2017
Source: Analysis of Atlas data.
Note: Data through September 20, 2017. Pre section 6 average is the monthly average between January 2013 and January 2016. Post section 6 average is the
monthly average between March 2016 and August 2017. Excludes MED days that were recorded after the date of the duty period.



      18. While some proportion of pilots will inevitably call in sick on the same day as their next

              scheduled duty period, the historical precedent at Atlas has been for a greater share of

              sick calls to be with one, two, or even three (or more) days of advance notice. For

              example, Exhibit 6 compares the percentage of pilots calling in sick by days of advance

              notice between October 1, 2016-September 20, 2017 and the same period from one year

              earlier (i.e., October 1, 2015-September 20, 2016). Exhibit 6 shows that while the percent

              of short-notice sick calls has increased from 13.8% to 23.8%, the percent of sick calls

              occurring at least two days in advance has declined by 12.9 percentage points from 44.5%

              to 31.6%.




                                                                               23
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                                   EXHIBIT 6: PILOT SICK CALLS BY DAYS OF ADVANCE NOTICE

                             50%
                                                                                           44.6%         44.5%
                             45%
                                                                           41.7%
                             40%

                             35%
                                                                                                                        31.6%
           % of Sick Calls




                             30%

                             25%                       23.8%

                             20%

                             15%       13.8%

                             10%

                             5%

                             0%
                                            Same-day                             1                                 2+
                                                                 Days Until Next Pilot Duty Period

                                            Oct 1, 2015 - Sep 20, 2016                Oct 1, 2016 - Sep 20, 2017
                        Source: Analysis of Atlas data.
                        Note: Excludes MED days that were recorded after the date of the duty period.



     19. Moreover, while the overall rate of pilot sick calls has the potential to be systematically

         influenced by a variety of exogenous factors (e.g., seasonality, rates of communicable

         disease, the intensity at which pilots are flying), the amount of advance notice that pilots

         provide when calling in sick is unlikely to be systematically influenced by these factors.

         Based on the historical (i.e., pre-Section 6 notice) distribution of the proportion of

         monthly sick calls made on short notice, the probability that one would observe a month

         where the proportion was 20.7% (or greater) is approximately 2.7%.36 However, as

         shown in Exhibit 5 above, since the Union sent its Section 6 notice on February 16, 2016,

         there have been ten months in which the proportion of sick calls made on short notice


36
  During the 37 month period between January 2013 and February 2016, there was only one month
in which the rate reached 20.7%, hence, the historical probability is 1-in-37, or roughly 2.7%.


                                                                               24
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         was at least 20.7%. Based on standard statistical methods, the probability of observing

         ten months with this “outlier” rate of short-notice sick calls is less than one-in-one

         billion.37 In light of this exceedingly remote probability, it is reasonable to conclude that

         the sharp increase in the proportion of sick calls made on short notice since the Union

         sent its Section 6 notice is not the result of random statistical variation, but rather, a

         concerted change in behavior by Atlas’s pilots aimed at disrupting the Company’s

         operations.


b. Increases in Pilot Fatigue Calls

     20. Another pilot-availability factor that has the potential to cause flight disruptions are pilot

         fatigue calls. Because most pilot fatigue calls occur in the middle of a pilot’s trip, fatigue

         calls—particularly those that occur in remote locations where the Company does not have

         substitute pilots readily available—often lead to long flight delays, imposing substantial

         inconvenience on Atlas’s customers.




37
  The probability of observing 10 (or more) events that are expected to occur randomly only 2.7
percent of the time from a sample of 19 events is calculated as:
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                                        ௞ୀଵ଴
This calculation is known as a Bernoulli trial or binomial probability test. See, for example, An
Introduction to Probability and Its Applications, pages 140-144, Richard J. Larsen and Morris L.
Marx, Prentice Hall. 1985. It is important to note that it is standard practice when applying the
Bernoulli trial test to sum the probability of observing exactly the number of observed outliers
(here, 10) with the probabilities of all rarer occurrences. Since probabilities must be non-negative
by definition, the probability of observing k (e.g., 10) or more outliers is higher than the probability
of observing exactly k (e.g., 10) outliers.


                                                  25
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       21. Since the Union sent its Section 6 notice, the frequency of pilot fatigue calls has risen

           sharply. For example, as shown in Exhibit 7, between July 2014 and January 2016, Atlas

           averaged only 5.7 fatigue calls per 1,000 active pilots on a monthly basis.38 However,

           since early 2016 (around the time when pilot communications began advising pilots on

           calling in fatigued),39 the rate of fatigue calls has nearly tripled to 16.3 fatigue calls per

           1,000 active pilots. Moreover, Exhibit 7 also shows that since Union sent its Section 6

           notice, the monthly fatigue rate has exceeded 17.8 fatigue calls per 1,000 pilots (the

           highest observed monthly rate prior to early 2016) in eight of the last 18 months. Based

           on standard statistical techniques, the probability of observing eight or more months since

           the Union sent its Section 6 notice with “outlier” rates of pilot fatigue is less than one-in-

           600,000.40 Moreover, while higher rates of pilot utilization (i.e., greater block hours per

           month) could potentially cause pilots to become more fatigued (and hence, call in

           fatigued more frequently), as discussed in paragraphs 25-27 below, pilot utilization has

           actually declined since the Union sent its Section 6 notice.41




38
   July 2014 represented the first month that Atlas began maintaining its current fatigue call data.
Because Atlas has been actively hiring new pilots, I have transformed the number of monthly
fatigue calls in Exhibit 7 into a rate (i.e., fatigue calls per 1,000 active pilots).
39
  See Carlson Decl. ¶ 48 Ex. 7 ([describing a February 2016 Union communication] “The video
continues with express instructions about how to ‘prove fatigue.’ […] The host explains that a
Fitbit device can be used to track sleep that provides ‘good evidence’ that ‘I may not be safe.’”).
                                          ଵ଼
40
     This probability is computed as =෍        ൫ଵ଼
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                                          ௞ୀ଼
41
  In addition, since the Union sent its Section 6 notice, other measures that have the potential to
increase pilot fatigue (e.g. average trip length, pilot rest between duty periods within a trip and the
number of days between trips) are substantially unchanged or have tended to become more
conducive to pilot rest.
                                                   26
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                                                                   EXHIBIT 7: ATLAS MONTHLY FATIGUE CALLS PER 1,000 ACTIVE PILOTS

                                             35                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  33.1
                                                                                                                                                                                                                                          IBT Section 6
                                                                                                                                                                                                                                         Notice (2/16/16)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             29.9
                                             30
     Monthly Fatigue Calls Per 1000 Pilots




                                             25
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     22.8
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    22.2                                                                                                                     21.9
                                                                                                                                                                                                                                                                                                                                                                   20.5                                                                                          21.0                                                           20.8
                                             20
                                                                                                                                                                                                                                         17.8
                                                                                                                                                                                                                                                                                                                                                                                                                                 16.4                                                                                              Average = 16.3
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          15.4
                                             15                                                                                                                                                                                                        13.8
                                                                                                                                                                                         12.2                                                                                                                                                                                                          12.7
                                                                                                                                                                                                                                                                                                                 12.1
                                                                                                                                                                                                                                                                                                       11.4
                                                                                                                                                                                                                                                                                                              10.3                                                                                                                                10.5
                                                                                                                                                                                                                                                                                                           9.5                                                                                                                                                                                                  9.4
                                             10                                                                                                                             7.9
                                                                                                                                                                                                                             8.5
                                                                                                                                                                                                                                                                                                                                                                                                                   7.5                                                                           6.9
                                                                                                                                                                                                                                                                                       6.8
                                                   Average = 5.7                                                                                                                                                                                                                                                                                                                           6.1
                                                                                                                                                                                                                                                                        5.1
                                              5                                                                                                                                                                                                                                                                                                                                 3.5
                                                                             2.2                                             2.2                            2.3                                       2.2
                                                   1.1 1.1                                    1.1 1.1                                                                                                            1.1
                                                                                                                                             0.0
                                              0
                                                                                                             November 2014




                                                                                                                                                                                                                                                                                       November 2015




                                                                                                                                                                                                                                                                                                                                                                                                                                                                 November 2016
                                                                                                                                                                                         April 2015




                                                                                                                                                                                                                                                                                                                                                                   April 2016




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             April 2017
                                                                                              October 2014




                                                                                                                                                                                                                                                                        October 2015




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                                                                                                                             December 2014




                                                                                                                                                                                                                 June 2015




                                                                                                                                                                                                                                                                                                       December 2015




                                                                                                                                                                                                                                                                                                                                                                                           June 2016




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 December 2016




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     June 2017
                                                   July 2014
                                                               August 2014




                                                                                                                                             January 2015




                                                                                                                                                                                                      May 2015


                                                                                                                                                                                                                             July 2015
                                                                                                                                                                                                                                         August 2015




                                                                                                                                                                                                                                                                                                                                                                                May 2016


                                                                                                                                                                                                                                                                                                                                                                                                       July 2016
                                                                                                                                                                                                                                                                                                                                                                                                                   August 2016




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          May 2017


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 July 2017
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             August 2017
                                                                             September 2014




                                                                                                                                                            February 2015
                                                                                                                                                                            March 2015




                                                                                                                                                                                                                                                       September 2015




                                                                                                                                                                                                                                                                                                                       January 2016
                                                                                                                                                                                                                                                                                                                                      February 2016




                                                                                                                                                                                                                                                                                                                                                                                                                                 September 2016




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 January 2017
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                February 2017
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                March 2017
                                                                                                                                                                                                                                                                                                                                                      March 2016


                                              Source: Analysis of Atlas data.
                                              Note: Data through August 31, 2017. Pre section 6 average is the monthly average between July 2014 and January 2016. Post section 6 average is the
                                              monthly average between March 2016 and August 2017.



                                             22. As with short-notice sick calls, the exceedingly low probability of observing the rate of

                                                          pilot fatigue calls the Company has been experiencing since the Union sent its Section 6

                                                          notice indicates that the steady increase in fatigue calls is not the result of random

                                                          statistical variation. Moreover, the statistically anomalous rate of pilot fatigue calls

                                                          cannot be explained by changes in the Company’s or the FAA’s practice with regards to

                                                          fatigue calls,42 or higher rates of pilot utilization. Thus, it is reasonable to conclude that

                                                          the steady increase in pilot fatigue calls the Company began experiencing shortly after




42
  In October 2010, more than five years prior to when the Union sent its Section 6 notice to Atlas,
the FAA began requiring all commercial airlines to have FAA approved Fatigue Risk Management
Plans (“FRMP”) and Atlas’s FRMP was submitted in September 2010 and approved in October
2010. Carlson Decl. ¶ 22.


                                                                                                                                                                                                                                                                                                       27
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            the Union sent its Section 6 notice—which coincides with the start of the Union’s

            campaign advising pilots to engage in a variety of slowdown activities, including calling

            in fatigued43—is the result of a concerted action aimed at exerting leverage on the

            Company by disrupting its operations.


c. Changes in Pilots’ Willingness to Accept Open Time

       23. When Atlas (and other airlines) has trips without an assigned pilot (known as “open

            time”) or an available reserve pilot,44 it makes these trips available to pilots wanting to

            supplement their flying (and hence income) by picking up open time on their days off.

            Because of the premium pay associated with open time trips, Atlas has typically been

            able to easily find pilots willing to accept open time assignments.45 Since 2015, Atlas

            has recorded the number of calls that its crew schedulers were required to make to pilots

            to find a volunteer willing to accept each open time trip.46 As shown in Exhibit 8, during

            2015, Atlas’s crew schedulers made an average of 1.5 calls per open time trip. The




43
     See, e.g., Ibid. ¶ 48.
44
  Open time flying opportunities for pilots can arise for several reasons, such as covering for pilots
who call in sick or fatigued to crew a flight that one of Atlas’s customers request on short notice,
or to recover from an operational disruptions due to bad weather or mechanical problems. Ibid. ¶
25.
45
     See Ibid. ¶ 26.
46
   Before conducting analysis using this data, some minor corrections were required, such as
correcting typos in value of the flight date variable. For example, instances where “DEC” was
misspelled “DERC” or “JUN” was misspelled as “JU N” were corrected. Additionally, I exclude
from the analysis any trips that were first listed as open trips less than one hour prior to the trip’s
start time.


                                                   28
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            number of calls per open time trip increased to over two during the first eight months of

            2016, and since September 2016 have averaged over three calls per open trip.47


      EXHIBIT 8: NUMBER OF CALLS PER OPEN TIME TRIP (JANUARY 2015-AUGUST 2017)


                                       IBT Section 6
                                      Notice (2/16/16)




 Source: Analysis of Atlas data.
 Note: Data through August 31, 2017. Excludes trips offered for less than an hour.


     24. Not surprisingly, the reduction in pilots’ willingness to accept open time has resulted in

            a sharp increase in the proportion of Atlas’s open time trips that have gone unfilled.

            Exhibit 9 shows the proportion of open time trips that went unfilled each month from

            January 2015 to August 2017,48 and shows that between January 2015 and February


47
   As shown in Exhibit 11 below, the sharp decline in pilots’ willingness to accept open- time
flying assignments cannot be explained by above average levels of flying by pilots, which could—
in theory—reduce the incentive of pilots to earn additional income by picking-up open time.
48
  Although it is my understanding that pilots at Atlas routinely volunteered for open time flying
assignments at a rate that allowed Atlas to cover its scheduled flying (see Carlson Decl. ¶ 26),
Atlas began recording open time acceptance rate data in a consistent manner starting in January
2015 (Ibid. ¶ 27).
                                                                 29
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            2016, there were no months where the monthly proportion of open trips left unfilled was

            over 5%. Exhibit 9 also shows that since February 2016 (i.e., following the Union’s

            Section 6 notice), there have been eleven months with over 5% of open time trips unfilled,

            and the rate surged to 42% unfilled in December 2016. Moreover, the sharp increase in

            the proportion of open time trips left unfilled is not the result of a commensurate increase

            in the amount of available open time being offered. To the contrary, as Atlas began to

            experience a reduced willingness among its pilots to accept open time flying (see Exhibit

            8 above), it added additional pilots (at a substantial cost to the Company).49 As a result,

            the number of open time trips available declined from an average of 132 per month

            between January 2015 and February 2016 to only 73 per month from March 2016 to

            August 2017. Notwithstanding this reduction in the supply of open time trips (which

            itself was brought on by the decline in pilots’ willingness to accept open time), the

            proportion of open time trips left unfilled remains substantially above its historical

            average.




49
     See Ibid. ¶ 175.
                                                   30
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 EXHIBIT 9: PROPORTION OF OPEN TIME TRIPS THAT WERE NOT FILLED (JANUARY 2015-
                                 AUGUST 2017)

                                   IBT Section 6
                                  Notice (2/16/16)




Source: Analysis of Atlas data.
Note: Excludes trips offered for less than an hour.


       When an open time flying opportunity goes unfilled because there are no volunteers willing

       to pick up the assignment, the Company traditionally relies on its reserve pilots (assuming

       a reserve pilot of the required seat/equipment is available at or near the location he/she is

       needed) to perform the flight. However, if the Company’s reserve pilot resources are

       already being stretched thin because of other changes in pilot behavior (e.g., unusual sick

       or fatigue call activity) there is an increased likelihood that the Company will be unable to

       cover the trip, resulting in a severe delay for Atlas and its customer.




                                                      31
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There is No Evidence to Support the Union’s Assertion that Atlas Suffers from Pilot
Understaffing

       25. The Union has publicly asserted that pilot attrition and Atlas’s expansion in the face of a

           pilot shortage has been the cause of the Company’s deteriorating operational

           performance.50 For example, during the lead-up to last year’s peak holiday shopping and

           shipping season, the Union warned that Amazon’s operations were likely to be disrupted

           because Atlas and ABX (another Amazon Prime carrier) had “overcommitted their

           operations by taking on Amazon’s business” and that “[t]hey took on the work despite

           known staffing problems, and the problems are getting worse.”51 Similarly, on December

           16, 2016, Giant Comms (a Twitter handle run by “a group of professional Pilots at Atlas

           & Southern Air”) retweeted a tweet by Local 1224’s Executive Council Communications

           Chair that “@AtlasAirWW’s failure to engage with @Teamsters pilots will cost them

           mightily in Q4 due to understaffing and no CBA.”52 The Union’s allegations regarding

           alleged understaffing at Atlas have continued to the present day. For example, a July 6,

           2017 press release by the Union directed “customers to ask Amazon executives to make

           sure its contracted pilots have a fair contract to strengthen their ability to deliver for Prime




50
  See, e.g., Ibid. ¶ 79, Ex. 32 at 3:17-4:5 (quoting a November 15, 2016 ATAM, which stated: “If
Atlas continues to deny us an industry standard contract, we simply won’t have enough pilots to
get the job done . . . .”); Ibid. ¶ 118, Ex. 62 at 6:5-6, 8:9-15) (quoting a June 15, 2017 ATAM,
which stated “the problems are due to mismanagement and lack of adequate staffing to support the
crews on the road and the pilot shortage.”).
51
     Source: http://canamazondeliver.com/.
52
     See Carlson Decl. ¶ 85.


                                                    32
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         customers” and “substandard pay and years-long delays in union contract negotiations

         have also triggered significant [pilot staffing] problems at the Prime Air airlines.”53


     26. Based on my analysis of pilot staffing rates at Atlas, I find no evidence to support the

         Union’s assertion that the carrier is understaffed. Atlas has been aggressively hiring

         pilots since 2014 in response to increased demand for its services,54 including its contract

         with Amazon (signed in May 2016) to add 20 Prime Air 767s to its fleet through 2018.55

         Thus, as shown in Exhibit 10 below, the growth in the number of active 767 pilots at

         Atlas (up 169% since January 2014) has outpaced the Company’s 767 fleet growth over

         the same period (up 155%), and the Company.56




53
   See Teamsters Local 1224: “Amazon Price Customers To Hear About Risks To Delivery
Service Ahead of ‘Prime Day,’” Teamsters Local 1224 Press Release, July 6, 2017 (available at
http://www.prnewswire.com/news-releases/teamsters-local-1224-amazon-prime-customers-to-
hear-about-risks-to-delivery-service-ahead-of-prime-day-300484182.html#).
54
   For example, between January 2014 and August 2017, the Company’s pilot headcount has
grown from approximately 900 pilots to 1,400 pilots. Source: Analysis of Atlas data.
55
  See “Atlas Air Worldwide Announces Agreement with Amazon To Provide Air Transport
Service,” Atlas Air Worldwide Holdings Press Release, May 5, 2016.
56
  Similarly, over the same period, Atlas increased its 747 pilot workforce by 26%, even though
the number of 747s in its fleet increased by only 17%. Source: Analysis of Atlas data.
                                                33
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 EXHIBIT 10: PERCENTAGE CHANGE IN ATLAS 767 PILOTS VS. NUMBER OF 767 AIRCRAFT IN
                        ATLAS’S FLEET (VS. JANUARY 2014)

                      180%
                                                                                                                                                                                                                             169%
                      160%

                      140%
                                                                                                                                                                                                                                 155%
                      120%
     Percent Change




                      100%

                      80%

                      60%

                      40%

                      20%

                        0%
                                                                  Sep-14

                                                                           Nov-14




                                                                                                                         Sep-15

                                                                                                                                   Nov-15




                                                                                                                                                                                Sep-16

                                                                                                                                                                                         Nov-16
                                       Mar-14




                                                                                             Mar-15




                                                                                                                                                     Mar-16




                                                                                                                                                                                                           Mar-17
                                                May-14




                                                                                                      May-15




                                                                                                                                                              May-16




                                                                                                                                                                                                                    May-17
                              Jan-14




                                                                                    Jan-15




                                                                                                                                            Jan-16




                                                                                                                                                                                                  Jan-17
                                                         Jul-14




                                                                                                               Jul-15




                                                                                                                                                                       Jul-16




                                                                                                                                                                                                                              Jul-17
                      -20%
                                                                           % Change in Shells                                     % Change in Headcount
                       Source: Analysis of Atlas data.
                       Note: Data through August 31, 2017. Percent change reflects the percent change since January 2014.


                      27. As a result of the Company’s proactive hiring, the amount of flying performed by Atlas’s

                             pilots (measured by the monthly “block hours” per pilot57) has remained well within

                             normal bounds. For example, as shown in Exhibit 11, in all but one month since February

                             2016 for 767 and 747 pilots the average block hours per pilot at Atlas has been below the

                             average from January 2013-January 2016. Thus, contrary to the assertions by the Union

                             that Atlas is under-staffed, the level of pilot staffing at Atlas is at or above historical

                             norms at the Company. Thus, I have no reason to believe that absent a concerted job

                             action by pilots, the Company would be experiencing a simultaneous increase in fatigue



57
  A block hour is a standard airline industry measure of aircraft (or crew) utilization defined as
the elapsed time from when an aircraft releases it parking gate prior to taxiing out until its parking
break is re-engaged at its destination.
                                                                                                                        34
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          calls, short-notice sick calls and a reduced willingness to volunteer for/pick up open time

          since the Union sent its Section 6 notice.


               EXHIBIT 11: AVERAGE BLOCK HOURS PER ATLAS PILOT, BY FLEET




 Source: Analysis of Atlas data.
 Note: Data through August 31, 2017. Monthly figures are standardized to30 days per month.


d. Changes in Pilots’ Willingness to Depart Prior to Estimated Time of Departure When
   Loaded and Ready

     28. Another prominent and overt example of a change in pilot behavior since February 2016

          is the rate at which pilots depart (or “block out”) exactly at the estimated time of departure

          (“ETD”), rather than leaving before the ETD when the plane is loaded and ready. A




                                                        35
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            flight’s ETD, which is communicated to the flight’s crew and is measured to the minute

            (e.g., 22:05), is the latest a flight is expected to block out.58


       29. Because flights that depart prior to the ETD have a larger time buffer in the event the

            flight encounters delays enroute due to weather, headwinds or other unexpected air- or

            ground-based congestion, they are more likely to arrive at their destination early (or on

            time). Thus, there is a substantial benefit to Atlas and its customers when its flights

            depart as soon as they are loaded and ready.59 Similarly, because earlier departures

            enable Atlas to redeploy its ground resources to service other Atlas flights (i.e., load,

            unload, fuel, and perform maintenance) they help to ensure that the Company’s

            operations (as well as its customers’ operations) run more smoothly.60


       30. As shown in Exhibit 12, prior to the Union’s Section 6 notice, nearly 80% of Atlas’s

            flights blocked out prior to their ETD once loaded and ready (the red line), with the

            balance of the flights departing either after the ETD (the yellow line) or exactly at the

            ETD (the blue line).61 However, shortly after the Union served its Section 6 notice on

            February 16, 2016, the proportion of Atlas’s flights blocking out when loaded and ready

            prior to the ETD began falling, and plunged even further during March 2016. Since




58
  See Carlson Decl. ¶ 29. Since August 1, 2017, in an effort to mitigate the effects of the pilots’
change in behavior, the estimated departure times for Atlas flights operated for Amazon have
moved up by 15 minutes.
59
     See Carlson Decl. ¶ 31.
60
     Ibid. ¶¶ 31-32.
61
   Flights that depart exactly at the ETD are those that depart within the 60 second window starting
at the ETD.


                                                     36
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              February 16, 2016, only about 34% of Atlas’s flights that did not experience an

              uncontrollable or secondary delay blocked out when loaded and ready prior to the ETD,

              compared to an average of nearly 80% prior to February 16, 2016.62


 EXHIBIT 12: SEVEN DAY MOVING AVERAGE OF THE PROPORTION OF ATLAS FLIGHTS WITH
 NEITHER UNCONTROLLABLE DELAYS NOR SECONDARY DELAYS LEAVING BEFORE, AFTER
                            AND EXACTLY AT THE ETD




 Source: Analysis of Atlas data.
 Notes: Data through September 19, 2017. Flights with neither uncontrollable delays nor secondary delays. Percent of flights leaving exactly at the ETD
 defined as flights that block-out during the same minute of the ETD.



       31. Given the similar proportion of Atlas’s flights that have historically blocked out exactly

              at the ETD versus after the ETD, it is reasonable to assume that a decline in departures


62
  Many of Atlas’s flights are delayed for reasons outside of the Company’s control such as weather
delays or delays due to a customer requesting a later departure time. Similarly many delays are
‘cascading’ or ‘secondary’ delays that are the result of an earlier delay causing follow-on delays
for subsequent flights. In order to isolate the changes in pilot behavior related to blocking out at
exactly the ETD instead of when loaded and ready, Exhibit 12 (as well as the rest of my analysis
of the BOOT campaign) only considers flights that neither had an uncontrollable delays nor a
secondary delay.
                                                                             37
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            prior to the ETD when loaded and ready would coincide with a similarly sized increase

            in the proportion of flights leaving after the ETD versus exactly at the ETD. However,

            as Exhibit 12 above shows, the sharp drop in the proportion of flights (excluding those

            with an uncontrollable and/or secondary delay) blocking out prior to the ETD when

            loaded and ready since the Union sent its Section 6 notice has been accompanied by only

            a modest increase in the proportion of these flights departing after the ETD, but a

            dramatic increase in the proportion of these flights that block out exactly at the ETD.


       32. Moreover, as shown by the grey bars in Exhibit 13 below, before February 16, 2016, it

            was standard practice at Atlas for many flights to depart much before the ETD when

            loaded and ready, with many flights with neither uncontrollable delays nor secondary

            delays departing early—often by several minutes—and only 13% of flights leaving

            exactly at the ETD. Since February 16, 2016 (the red bars in Exhibit 13), the proportion

            of flights leaving early drops substantially (e.g., from 12.1% to only 3.3% for early

            departures of 25 minutes or more) while the proportion of flights departing exactly on-

            time has surged to 53%. Given the status quo practice at Atlas of departing once loaded

            and ready prior to the ETD, Atlas’s customers reasonably expect the Company’s flights

            to leave at the earliest practical time. Thus, when Atlas’s customers observe pilots

            intentionally waiting until the ETD to leave notwithstanding being cleared to depart, it is

            reasonable to expect that they would become dissatisfied with Atlas’s operational

            performance.63




63
     See, e.g., Carlson Decl. ¶ 33.
                                                   38
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    EXHIBIT 13: DISTRIBUTION OF ATLAS DEPARTURES TIMES RELATIVE TO ETD FOR FIGHTS
    WITH NEITHER UNCONTROLLABLE DELAYS NOR SECONDARY DELAYS BEFORE AND AFTER
                          THE UNION SENT ITS SECTION 6 NOTICE

                     60%
                                                                            53.1%

                     50%


                     40%
Percent of Flights




                     30%


                     20%
                                                                         13.1%
                           12.1%

                     10%
                            3.3%                                                                                                           3.8%
                                                                                                                                        2.5%
                     0%
                              -9
                              -8
                              -7
                              -6
                              -5
                              -4
                              -3
                              -2
                              -1
                           <=-25




                             -17
                             -24
                             -23
                             -22
                             -21
                             -20
                             -19
                             -18

                             -16
                             -15
                             -14
                             -13
                             -12
                             -11
                             -10




                               0
                               1
                               2
                               3
                               4
                               5
                               6
                               7
                               8
                               9
                              10
                              11
                              12
                              13
                              14
                              15
                              16
                              17
                              18
                              19
                              20
                              21
                              22
                              23
                              24
                            >=25
                                               Jan 1, 2012 - Feb 15, 2016        Feb 16, 2016 - Present
     Source: Analysis of Atlas data.
     Notes: Data through September 19, 2017. Delay minutes relative to ETD. Flights with neither uncontrollable delays nor secondary delays.



Regression Analysis of the Proportion of Atlas Flights Leaving Before, After and Exactly at the
ETD

                      33. To more rigorously assess whether the change in the proportion of Atlas flights with

                             neither uncontrollable delays nor secondary delays leaving before, after and exactly at

                             the ETD could have been the result of factors other than a concerted job action by pilots

                             aimed at exerting leverage on the Company during collective bargaining negotiations, I

                             estimated regression models of the proportion of flights departing early, late and exactly

                             at the ETD. Regression analysis is a standard analytical tool used by economists and

                             other researchers to determine the relative importance of potential explanatory (i.e.,

                             “independent”) variables in explaining the variation of the variable of interest (the

                             “dependent” variable), the proportion of flights departing early, late or exactly at the ETD

                             in this instance. Regression analysis allows one to systematically control for a wide range

                                                                         39
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         of factors that can influence the variable of interest (e.g., proportion of flights departing

         exactly at the ETD) including—among other things—aircraft utilization, seasonality,

         weather, and rate of maintenance write-ups.


     34. The regression data set is comprised of approximately five and a half years of daily

         observations from January 1, 2012 to September 19, 2017 (2,089 in total). To measure

         the impact of changes in pilot behavior on the proportion of flights departing before, after

         or exactly at the ETD, a dummy variable is included,64 denoted D(post-February 16,

         2016), which takes the value 1 for all observations on or after February 16, 2016 (the

         date the Union served its Section 6 notice). When other control variables are included in

         the regression to account for systematic variation in the proportion of flights departing

         before, after or exactly at the ETD (as described below), the estimated coefficient for the

         D(post- February 16, 2016) variable provides a reliable estimate of the aggregate impact

         of changes in pilot behavior on the proportion of flights departing before, after or exactly

         at the ETD since the Union served its Section 6 notice.


     35. The proportion of flights departing before, after or exactly at the ETD at an airline can

         be affected by several factors, including the time of year, day of the week, as well as

         changes in operating conditions (e.g., weather) and other factors. To account for day-of-

         week variation in the proportion of flights departing early, late or exactly at the ETD, the



64
   In regression analysis, dummy variables are used when the explanatory variable of interest is
qualitative in nature (i.e., male versus female, changes in a regime over time, etc.). Dummy
variables can also be used with quantitative explanatory variables to measure the impact on the
dependent variable when the level (or rate) of a particular explanatory variable reaches a certain
threshold.


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          regressions include day-of-week “fixed effects” (i.e., a dummy variable for all but one of

          the days of the week).65 Likewise, to control for variation in the proportion of flights

          departing before, after or exactly at the ETD throughout the year, the regression model

          includes week-of-year fixed effects. Even though the sample of flights in the regression

          is limited to those which did not experience a weather delay, it is reasonable to believe

          that the proportion of flights departing before, after or exactly at the ETD may be

          correlated with weather. Therefore, the regressions include the variables Rain, Snow,

          Extreme Heat, and Extreme Cold, which measure the average rain and snow for each

          Atlas flight and the proportion of Atlas departures from airports with daily high

          temperatures above 100 degrees Fahrenheit or below 10 degrees Fahrenheit.


     36. It is also reasonable to posit that the proportion of flights departing before, after or exactly

          at the ETD may be correlated with a number of other control variables including average

          industry on time performance (Industry D0 Delay Rate)66, the intensity of the Atlas

          operation (Daily Atlas Departures, Monthly Atlas Departures and Monthly Average

          Flight Time), aircraft utilization (Daily Block Hours per Aircraft), Average Fleet Age

          as well as unscheduled maintenance (% Aircraft Under Unscheduled Maintenance)

          and the number of new deferrable maintenance write-ups reported (New MELs per



65
   When including a set of mutually exclusive and complete dummy variables, it is standard
practice to exclude one of the dummy variables (e.g., Monday) so that the other dummy variables
(e.g., Tuesday, Wednesday, Thursday, etc.) can be interpreted as the deviation from the excluded
dummy.
66
  “D0” is a standard industry term for the percent of flights departing no later than the scheduled
departure time. The D0 delay rate therefore measures the percent of flights departing after the
scheduled departure time.


                                                   41
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           aircraft).67 Likewise, if pilot utilization increased (i.e., if pilots are flying more block

           hours each month), it might be expected that more flights would depart after the ETD,

           and therefore, the regression also includes the average block hours per pilot each month

           (Monthly Block per Pilot).


       37. Because of the possibility that flights operated by Atlas for different customer segments

           may have a tendency to depart closer to the ETD, the regression also controls for the

           percent of flights for each of Atlas’s main customer segments (% ACMI, % DHL, %

           Military Passenger). Similarly, to account for the potential of different fleets to have

           different proportions of flights departing before, after or exactly at the ETD, the

           regression includes a variable measuring the proportion of flights that are on Boeing 747

           aircraft (Share 747 departures).68 Airport congestion at different times of the day may

           also play a role in whether flights leave before, after or exactly at the ETD and therefore

           the regression models control for the percent of departures at different times of the day

           (% of Departures 7am-10am, % of Departures 10am-3pm and % of Departures

           3pm-9pm). Lastly, the regression includes departure airport fixed effects, which controls

           for factors that may be specific to the different airports where Atlas flights originate.


       38. Exhibit 14 below summarizes the results of the regression models for the proportion of

           flights departing before, after or exactly at the ETD.69 Column 1 shows the results for



67
     MELs are “minimum equipment list” write-ups.
68
  Nearly all Atlas flights are flown on either Boeing 747 or Boeing 767 aircraft and thus, the share
of 767 aircraft is the excluded category.
69
   As is commonly done, I have suppressed the week-of-year, day-of-week and departure airport
fixed effects in the table for the purposes of presentation.
                                                   42
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  the proportion of flights with neither uncontrollable delays nor secondary delays that

  depart before the ETD once loaded and ready, while columns 2 and 3 show the results

  for the proportion of flights departing exactly at the ETD and after the ETD, respectively.

  The table includes the estimated coefficients for each independent variable in addition to

  their standard errors (in parentheses). Estimated coefficients noted with a single asterisk

  (*) are statistically significant at the 95% confidence level and estimated coefficients

  noted with a double asterisk (**) are statistically significant at the 99% confidence level.

  The estimated coefficients are interpreted as the marginal effect of that variable on the

  proportion of flights departing before, after or exactly at the ETD holding all other

  variables constant. For example, the estimated coefficient on Industry D0 delay rate

  in column 1 (proportion of flights departing on time or early) is negative and statistically

  significant at the 99% level indicating, as expected, that higher departure delay rates for

  the industry are associated with fewer Atlas flights departing before the ETD once loaded

  and ready, all else equal.




                                         43
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EXHIBIT 14: REGRESSION RESULTS FOR PROPORTION OF ATLAS FLIGHTS WITH NEITHER
 UNCONTROLLABLE DELAYS NOR SECONDARY DELAYS DEPARTING BEFORE, AFTER OR
                            EXACTLY AT THE ETD
                                                              (1)                          (2)                        (3)
                                                    Share of Flights Blocked   Share of Flights Blocked Out Share of Flights Blocked
      Variables                                        Out Prior to ETD               Exactly at ETD             Out After EDT


      D(post-February 16, 2016)                              -0.350**                     0.319**                    0.0311**
                                                             (0.0153)                    (0.0142)                   (0.00666)
      Industry D0 Delay Rate                                 -0.202**                     0.167**                      0.0351
                                                             (0.0563)                    (0.0491)                    (0.0318)
      Monthly Atlas Departures                            -7.97e-05**                  6.15e-05**                   1.82e-05
                                                           (2.09e-05)                  (1.89e-05)                  (1.20e-05)
      Daily Atlas Departures                               -0.000520                    0.000200                    0.000320
                                                          (0.000374)                   (0.000343)                  (0.000212)
      Monthly Average Flight Time                            -0.124**                     0.102**                      0.0223
                                                             (0.0247)                    (0.0209)                    (0.0153)
      Monthly Block per Pilot                                0.0106**                   -0.0102**                  -0.000395
                                                            (0.00137)                   (0.00122)                  (0.000746)
      Daily Block Hours per Aircraft                        -0.00307                      0.00242                   0.000652
                                                            (0.00341)                   (0.00295)                   (0.00200)
      Average Fleet Age                                     -0.00818*                     0.00490                     0.00329
                                                            (0.00334)                   (0.00301)                   (0.00201)
      % of Aircraft Under Unscheduled Maintenance             -0.186                       0.0702                      0.116
                                                              (0.102)                    (0.0938)                    (0.0596)
      New MELs per Aircraft                                  -0.0322                    -0.00834                     0.0405**
                                                             (0.0235)                    (0.0204)                    (0.0133)
      % ACMI                                                   0.102                      -0.0915                     -0.0104
                                                             (0.0618)                    (0.0536)                    (0.0365)
      % DHL                                                   0.0600                     -0.00401                     -0.0560
                                                             (0.0768)                    (0.0672)                    (0.0437)
      % Military Passenger                                    0.0274                      -0.0338                     0.00643
                                                             (0.0941)                    (0.0783)                    (0.0575)
      Share 747 departures                                    -0.142                       0.0482                     0.0943*
                                                             (0.0819)                    (0.0744)                    (0.0471)
      % of Departures 7am-10am                               -0.0224                       0.0121                      0.0103
                                                             (0.0756)                    (0.0688)                    (0.0433)
      % of Departures 10am-3pm                               -0.0529                      -0.0290                     0.0819*
                                                             (0.0679)                    (0.0632)                    (0.0381)
      % of Departures 3pm-9pm                                -0.0373                      -0.0210                     0.0582
                                                             (0.0608)                    (0.0552)                    (0.0367)
      Extreme Heat                                            -0.294                        0.296                    -0.00237
                                                              (0.193)                     (0.173)                     (0.136)
      Extreme Cold                                           -0.0289                      0.00728                      0.0216
                                                             (0.0685)                    (0.0564)                    (0.0447)
      Rain                                                   0.00339                     -0.00530                     0.00191
                                                            (0.00343)                   (0.00311)                   (0.00187)
      Snow                                                   -0.0945                      -0.0742                      0.169
                                                              (0.231)                     (0.179)                    (0.0910)
      Constant                                                1.608**                     -0.324*                    -0.283**
                                                              (0.172)                     (0.147)                     (0.104)

      Observations                                           2,089                        2,089                      2,089
      R-Squared                                              0.853                        0.851                      0.276
      Robust standard errors in parentheses
      ** p<0.01, * p<0.05

      Data from January 1, 2012 to September 19, 2017. Flights with neither uncontrollable delays nor
      secondary delays. Percent of flights leaving exactly at the ETD defined as flights that block-out during
      the same minute of the ETD. Day of week, week of year, and departure airport fixed effects not shown.


  39. Turning to the independent variable of interest, the estimated coefficient on D(post-

      February 16, 2016) in column 1 is negative and statistically significant at the 99%


                                                                44
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         confidence level indicating that changes in pilot behavior since February 16, 2016 the

         proportion of flights with neither uncontrollable delays nor secondary delays departing

         when loaded and ready prior to the ETD has decreased by 35.0 percentage points.

         Similarly, the estimated coefficient on D(post-February 16, 2016) in column 2 indicates

         that the proportion of flights with departing exactly at the ETD has increased by 31.9

         percentage points, while the estimated coefficient on D(post-February 16, 2016) in

         column 3 shows that the proportion of flights departing after the ETD has increased by

         only 3.1 percentage points since February 16, 2016.70 In sum, Exhibit 14 clearly shows

         that since February 16, 2016, the vast majority of flights that traditionally departed when

         loaded and ready prior to the ETD now leave exactly at the ETD.


99% Confidence Band for Proportion of Flights Departing Exactly at the ETD


     40. A second but related regression-based method of assessing whether changes in pilot

         behavior since February 16, 2016 have resulted in abnormally high proportion of flights

         departing exactly at the ETD is to use the same underlying regression model described

         in Exhibit 14 above to forecast the 99% confidence band for the proportion of flights

         departing at the exact ETD, and then compare the confidence band to the actual

         proportion of flights departing at the exact ETD. Constructing the 99% confidence band

         for Atlas’s proportion of flights departing exactly at the ETD requires four basic steps.

         First, I re-estimated the regression model from Exhibit 14 above using a control period




70
  The statistically significant increase in flights departing at the exact ETD has occurred on both
the Atlas 767 and 747 fleets and has occurred for flights across Atlas’s various customer segments.


                                                45
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           of data from January 1, 2012 to February 15, 2016 (thereby excluding the D(post-

           February 16, 2016) dummy variable).71 Second, I calculated the so-called “predicted

           value” of the proportion of flights departing exactly at the ETD for each day of the full

           data set (i.e., including the days since February 15, 2016) based on the estimated

           coefficients from the regression model estimated in Step 1 and the actual values for each

           of the independent variables.72 Third, I determined the 99th percentile upper and lower

           “residuals” from the regression.73 Finally, I plotted the 99% confidence band, which is

           constructed by adding the upper 99th percentile residual computed in Step 3 to the

           predicted value from Step 2 (or, in the case of the lower 99th percentile residual,

           subtracting it from the predicted value).


       41. The result of the four-step process described above is shown below in Exhibit 15 and

           demonstrates that Atlas’s daily flights with neither uncontrollable delays nor secondary

           delays that blocked out exactly at the ETD began to rise shortly after the Union served

           its Section 6 notice to the Company on February 16, 2016 and then began to surge even

           higher in the spring and early summer of 2016, rising well outside of the 99% confidence

           band.    Exhibit 15 shows that the proportion of Atlas’s daily flights with neither



71
     The estimated coefficients from this regression are presented in Appendix C.
72
   The “predicted values” of the dependent variable (e.g., the proportion of flights departing exactly
at the ETD) is computed by summing the products of the estimated coefficient and actual value
for each of the independent variables (including the constant) for each observation in the regression
data set. The predicted values represent the model’s best estimate as to what the proportion of
flights departing exactly at the ETD was expected to be given the observed value of each of the
independent variables that day.
73
  The differences between the predicted values and the actual values of the dependent variable are
known as the regression “residuals.”


                                                  46
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           uncontrollable delays nor secondary delays that blocked out exactly at the ETD has been

           well above the upper 99% confidence threshold on 93% of days since February 16, 2016

           (i.e., 543 of 582 days) and every day since April 9, 2016.74 The probability of observing

           an event that is expected to occur randomly only one percent of the time on 543 of 582

           days is a virtual impossibility (i.e., far less than one-in-one billion).


   EXHIBIT 15: 99% CONFIDENCE BAND FOR THE PROPORTION OF ATLAS FLIGHTS WITH
NEITHER UNCONTROLLABLE DELAYS NOR SECONDARY DELAYS BLOCKING OUT EXACTLY AT
                                   THE ETD




 Notes: Data through September 19, 2017. Percent of flights leaving exactly at the ETD defined as flights that block-out
 during the same minute of the ETD. Flights with neither uncontrollable delays nor secondary delays. Confidence interval
 based on regressions using data from January 1, 2012 through February 15, 2016.


       42. The dramatic and statistically significant increase in the proportion of Atlas flights

           blocking out exactly at the estimated departure time coincides with a series of

           communications by the Union’s leadership encouraging their fellow crewmembers to


74
     Calculations reflect data through September 19, 2017.
                                                           47
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            participate in a BOOT campaign. These communications have come from messages such

            as the Atlas Teamster Action Messages (“ATAM”), a series of recordings produced by

            the Union’s Atlas Executive Council Communications Chair disseminated to Atlas pilots

            via the Internet, as well as video podcasts, social media, and electronic mail, and CBA

            Chats, podcasts that are hosted by Captain Gary Saunders on behalf of the Union.75 For

            example, an April 12, 2016 CBA Chat urged pilots to block out exactly at the ETD by

            informing pilots, “And this is all about shopping. BOOT stands for Block Out On Time.

            And, we are not doing this. We are going early, left, right, and center.”76 This was

            followed by a June 20, 2016 video recording titled CBA Chat, stating that “starting

            immediately, your ExCo are requesting that we all strive to block out on time. No early

            departures.”77 Additional communications commended pilots for participating in the

            BOOT campaign, and lauded its effects: “[Y]our participation in the BOOT and SHOP

            [Stop Helping Out Purchase, i.e., Atlas] initiatives have shown that they’re [sic] planning

            and execution is so poor that being held to following the CBA, which they agreed to,

            creates a complete debacle as an airline.”78


       43. In sum, for the reasons described above, it is my opinion that the dramatic and statistically

            significant increase in the proportion of Atlas’s flights blocking out exactly at the ETD

            is not the result of random statistical variation or other factors, but rather, a concerted



75
     See http://giantcomms.libsyn.com/podcast; Carlson Decl. ¶¶ 48, 53, 57, 64.
76
  See http://giantcomms.libsyn.com/anchorage-cba-chat-chat at time 17:21; Carlson Decl. ¶ 57,
Ex. 14 at 18:19-22.
77
  See http://giantcomms.libsyn.com/podcast/cba-chat-boot-0, at time 0:15; Carlson Decl. ¶ 64, Ex.
19 at 1:7-11 (emphasis added).
78
     See Carlson Decl. ¶ 129, Ex. 68 at 2:20-3:2.
                                                    48
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            effort by Atlas’s pilots aimed at exerting leverage on the Company during its current

            contract negotiations.


e. The Rate of Maintenance Write-Ups by Atlas’s Pilots Has Risen Sharply Since The
   Union Sent its Section 6 Notice

       44. During standard pre-flight checks, as well as during and after a flight, pilots have the

            ability to report mechanical discrepancies that they encounter with the aircraft. While

            this reporting is an important part of the maintenance and safety process at Atlas (and

            other airlines), pilots also have the ability to disrupt and delay a carrier’s operations by

            submitting write-ups for discrepancies that are within the permitted operating

            requirements of the aircraft and have no impact on airworthiness or safety.79 As shown

            in Exhibit 16, beginning in early 2016, the rate at which Atlas’s pilots write up aircraft

            began rising on the 767 fleet, followed shortly thereafter by an increase on the 747 fleet.80




79
     Ibid. ¶ 38.
80
   In order to control for any changes in write-up rates due to the addition (or removal) of aircraft
to Atlas’s fleet that may have higher or lower write-up rates, I have limited the analysis to aircraft
that have been in Company’s fleet since 2013.
                                                    49
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     EXHIBIT 16: ATLAS PILOT WRITE-UP RATE PER DEPARTURE (2014-2017)




45. Like my analysis of the concerted BOOT campaign described above, changes in pilot

    write-up rates are well-suited to a regression analysis that controls for factors likely to be

    systematically correlated with pilot write-up rates, such as average fleet age, aircraft

    utilization rates and the rate at which Atlas’s mechanics identify and write-up

    maintenance discrepancies. Thus, I estimate a regression model using the daily pilot

    write-up rate (i.e., the number of maintenance write-ups by pilots divided by the number

    of flights on a given day) as the dependent variable. The independent (or control)

    variables in the model include several of the variables used in the BOOT regression and

    defined in paragraphs 35-37 above (e.g., 30 day Average Cycles per Tail, Average

    Fleet Age, % ACMI, % DHL, % Military Passenger, Rain, Snow, Extreme Heat

    and Extreme Cold, as well as day-of-week and week-of-year fixed effects). In addition,

    to control for any potential change in mechanical discrepancies with the fleet beyond the
                                           50
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         influence of the pilots, the regression includes Mechanic Write-up Rate (the number of

         aircraft write-ups by mechanics per departure that day) as well as Long AOS Rate (the

         proportion of Atlas’s fleet that were out of service for at least four hours at any point that

         day for unscheduled reasons). Finally, as with the BOOT regression, to measure the

         estimated aggregate impact of changes in pilot behavior on pilot write-up rates since the

         Union served its Section 6 notice, the regression includes D(post-February 16, 2016), a

         dummy variable taking the value 1 for all observations on or after February 16, 2016,

         and 0 otherwise.


     46. Exhibit 17 shows the estimated coefficients for the pilot write-up regression for Atlas’s

         767 fleet (column 1) and Atlas’s 747 fleet (column 2).81 The estimated coefficient on

         D(post-February 16, 2016) is statistically significant for both fleets at the 99%

         confidence level and shows that since the Union’s Section 6 notice, pilot write-up rates

         have increased substantially. For example, column 1 shows that pilot write-up rate

         increased by 43.4 percentage points on Atlas’s 767 fleet, after controlling for other

         factors systematically correlated with maintenance discrepancies, while Column 2

         demonstrates that the pilot write-up rate on Atlas’s 747 fleet increased by 10.3 percentage

         points. In light of these findings, it is my opinion that the statistically significant increase

         in pilot write-ups at Atlas since early 2016 is not the result of random statistical variation

         or other factors, but is further evidence of a concerted effort by pilots to disrupt the

         Company’s operations to exert leverage during the current contract negotiations.



81
   As noted above, in order to control for any changes in write-up rates due to the addition (or
removal) of aircraft to Atlas’s fleet that may have higher or lower write-up rates, I have limited
the analysis to aircraft that have been in Atlas’s fleet since 2013.
                                                  51
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  EXHIBIT 17: REGRESSION RESULTS FOR ATLAS PILOT WRITE-UP RATE PER DEPARTURE
                                                           (1)                          (2)
     Variables                                   767 Pilot Write-Up Rate      747 Pilot Write-Up Rate


     D(post-February 16, 2016)                            0.434**                      0.103**
                                                         (0.0178)                     (0.0151)
     Average Fleet Age                                  0.000979                     -0.0234**
                                                        (0.00288)                    (0.00476)
     Long AOS Rate                                        -0.320*                      0.383*
                                                          (0.142)                      (0.164)
     Mechanic Write-up Rate                              0.0269**                     -0.0139*
                                                        (0.00498)                    (0.00620)
     30 Day Avg. Cycles per Tail                         -0.141**                      0.246**
                                                         (0.0513)                     (0.0538)
     % DHL                                                0.0608                       0.295**
                                                         (0.0857)                     (0.0918)
     % Military Passenger                                 0.214*                       0.313*
                                                         (0.0880)                      (0.154)
     % ACMI                                                                            -0.155*
                                                                                      (0.0725)
     Extreme Heat                                         0.0427                      -1.604**
                                                          (0.206)                      (0.334)
     Extreme Cold                                         -0.124                        0.213
                                                          (0.109)                      (0.122)
     Rain                                                 0.0253                       0.0401
                                                         (0.0642)                     (0.0594)
     Snow                                                 0.0647                        0.367
                                                          (0.193)                      (0.225)
     Constant                                              0.119                       0.252**
                                                          (0.126)                     (0.0937)

     Observations                                           1,723                      1,723
     R-Squared                                              0.492                      0.255
     Robust standard errors in parentheses
     ** p<0.01, * p<0.05
     Includes only aircraft that were in the fleet in 2013
     Day of week and week of year fixed effects not shown
     Regression run on a period from January 1, 2013 to September 19, 2017.


f. Slower Taxiing

    47. Pilots have the ability to exert considerable influence on the speed at which they taxi

        aircraft before take-off and after landing and the Union has issued several

        communications to its pilots encouraging them to taxi more slowly than they otherwise




                                                          52
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                                would.82 Moreover, since the Union sent its Section 6 notice, Atlas has in fact also been

                                experiencing slower average taxi times on its flights. For example, Exhibit 18 compares

                                the distributions of the amount of time (in minutes) that Atlas flights spend taxiing prior

                                to take-off (known as the “taxi-out” time) before and after February 16, 2016.83 Exhibit

                                18 clearly shows that the distribution of taxi-out times has shifted towards longer taxi

                                times since February 2016.


            EXHIBIT 18: DISTRIBUTION OF ATLAS TAXI-OUT TIMES BEFORE AND AFTER THE UNION
                                       SENT ITS SECTION 6 NOTICE

                          7%


                          6%


                          5%
     Percent of Flights




                          4%


                          3%
                                                                                                                                                        2.5%
                                                                                                                                                    1.9%
                          2%


                          1%


                          0%
                               0 1 2 3 4 5 6 7 8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 28 29 30 31 32 33 34 35 36 37 38 39 40 41 42 43 >=
                                                                                                                                                         44
                                                      Jan 1, 2012 - Feb 15, 2016            Feb 16, 2016 - Sep 19, 2017
                 Source: Analysis of Atlas data.




82
  For instance, in discussing “other great shopping tips,” on April 12, 2016, the Union advised
“don’t go fast,” and a chat participant soon interjected “taxi speed is a safe, very safe taxi speed,”
and he has “been seeing a lot of guys taxiing pretty fast” and he has been “wondering what the hell
they’re doing.” (Carlson Decl. ¶ 57, Ex. 14 at 48:22-49:2, 52:10-16.).
83
  In my analysis of taxi times, I remove outlier observations with taxi times larger than 120
minutes, representing less than 0.05% of observations.
                                                                                      53
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48. Because taxi times can depend on a variety of factors other than changes in pilot behavior,

    I estimate a regression model (similar to my BOOT regression model described above)

    that controls for factors that are likely to be systematically correlated with Atlas’s taxi-

    times, using Atlas’s average taxi-out and taxi-in minutes as the dependent variables.


49. Results for the taxi-time regression models are shown in Exhibit 19. In addition to

    several of the variables used in the BOOT and write-up regression models, the taxi-time

    regression model also includes additional independent variables to control for potential

    airport-specific factors (such as runway or taxi-way construction) that could impact taxi

    times at that airport. Specifically, the model includes Average Southern Taxi Time (the

    average minutes of taxi time for Southern Air flights at the same airports used by Atlas)

    as well as Average Industry Taxi Time (the average number of minutes of taxi time for

    passenger carriers on that day to/from the same airports served by Atlas that day based

    on MasFlight data). As with my previous regression models, the taxi-time regressions

    include D(post-February 16, 2016), a dummy variable that takes the value 1 for days

    after February 16, 2016 and is 0 otherwise, to capture the impact of changes in behavior

    by Atlas’s pilots on taxi times since the Union’s Section 6 notice.


50. Column 1 of Exhibit 19 shows the estimated coefficients for the taxi-in regression, while

    column 2 of Exhibit 19 shows the results for taxi-out times. The estimated coefficient

    on D(post-February 16, 2016) is statistically significant for both taxi-in and taxi-out

    times at the 99% and 95% confidence level respectively and indicates that since February

    16, 2016, taxi-out times for Atlas’s flights have increased by an average of 0.62 minutes,

    while taxi-in times have increased by an average of 0.60 minutes, after controlling for


                                           54
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  other factors likely to affect taxi times. In light of these findings and the fact that the

  Union has issued communications to its membership specifically encouraging them to

  slow down the speed at which they taxi, it is my opinion that the increased taxi times the

  Company has been experiencing since the Union sent its Section 6 notice is further

  evidence of a concerted action by Atlas’s pilots aimed at disrupting Atlas’s operations to

  exert leverage during the current contract negotiations.




                                         55
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EXHIBIT 19: REGRESSION RESULTS FOR ATLAS AVERAGE TAXI-IN AND TAXI-OUT TIMES
                                                               (1)             (2)

              Variables                                    Taxi In Time   Taxi Out Time


              D(post-February 16, 2016)                       0.595**         0.619*
                                                              (0.157)        (0.269)
              Average Southern Taxi Time                     0.0935**        0.158**
                                                             (0.0147)       (0.0235)
              Industry Average Taxi Time                     -0.0204          0.0273
                                                             (0.0191)       (0.0258)
              Daily Atlas Departures                          0.0244          0.0403
                                                             (0.0247)       (0.0338)
              Average Fleet Age                              -0.0332        -0.00472
                                                             (0.0258)       (0.0489)
              30 Day Avg. Cycles per Tail                     4.050**          0.629
                                                              (0.818)        (1.313)
              Monthly Block per Pilot                         0.0150         -0.0167
                                                             (0.0157)       (0.0249)
              % ACMI                                         -0.0334         -0.108*
                                                             (0.0333)       (0.0463)
              % DHL                                          -0.0679*        -0.0597
                                                             (0.0290)       (0.0423)
              % Military Passenger                            -0.148*        -0.0430
                                                             (0.0610)        (0.107)
              Share 747 departures                             1.420           1.094
                                                              (0.749)        (1.303)
              % of Departures 7am-10am                        -0.495          -0.250
                                                              (0.568)        (0.867)
              % of Departures 10am-3pm                        1.144*          -1.172
                                                              (0.524)        (0.769)
              % of Departures 3pm-9pm                          0.278          -0.174
                                                              (0.435)        (1.029)
              Extreme Heat                                     5.676          -5.924
                                                              (4.877)        (4.196)
              Extreme Cold                                    0.911*         0.00326
                                                              (0.448)        (0.644)
              Rain                                           0.0551*          0.0571
                                                             (0.0232)       (0.0419)
              Snow                                            3.590**          1.284
                                                              (1.124)        (1.607)
              Constant                                         0.453         12.19**
                                                              (1.809)        (3.377)

              Observations                                    2,089           2,089
              R-Squared                                       0.278           0.310
              Robust standard errors in parentheses
              ** p<0.01, * p<0.05
               Source: Analysis of Atlas data.
               Regression from January 1, 2012 to September 19, 2017. Average taxi
               for Atlas flights to/from airports where data is available for industry
               and Southern taxi times. Day of week, week of year, and airport fixed
               effects not shown.




                                                      56
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V.     THE CHANGES IN PILOT BEHAVIOR BY ATLAS PILOTS HAVE
       RESULTED IN A STATISTICALLY SIGNIFICANT EROSION IN THE
       COMPANY’S OPERATIONS
     51. The changes in pilot behavior that have occurred since the Union sent its Section 6 notice

         discussed in Section IV have had a demonstrable adverse effect on the Company’s

         operational performance, and as a result, have resulted in a substantial loss in goodwill

         with Atlas’s customers. The adverse impact from changes in pilot behavior on Atlas’s

         operations has manifested itself in two primary ways: (1) a statistically significant

         increase in the proportion of Atlas’s flights suffering from prolonged delays (i.e., delays

         of at least six hours), which—while affecting a relatively small proportion of Atlas’s

         overall flights—cause substantial disruptions for Atlas’s customers, and (2) a persistent,

         widespread and statistically significant increase in relatively shorter delays that impact

         the majority of Atlas’s flights.


            Prolonged Delays


     52. The confluence of several of the statistically significant changes in pilot behavior that

         Atlas has experienced since the Union sent its Section 6 notice—including pilot fatigue

         calls, short-notice sick calls, an unwillingness to accept open time assignments and

         unnecessary write-ups—has led to an increase in the proportion of Atlas’s flights

         suffering from prolonged flight delays. For example, as shown in Exhibit 20, between

         January 2012 and February 15, 2016, the proportion of Atlas’s flights experiencing a

         delay of at least six hours relative to the fight’s scheduled time of departure was only




                                                57
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                                    1.4%.84 Although this proportion remained at or near its historical rate in the months

                                    directly after the Union sent its Section 6 notice, it began to rise in the summer of 2016

                                    and reached unprecedented levels in December 2016.                            Since December 2016, the

                                    proportion of Atlas’s flights suffering prolonged delays increased by over 70%, to 2.4%.


 EXHIBIT 20: PERCENT OF ATLAS FLIGHTS WITH EXTENDED DELAYS OF AT LEAST 6 HOURS

                             4%
                                                                                             IBT Section 6
                                                                                            Notice (2/16/16)



                             3%
     Delay Rate (6+ Hours)




                                                                                                                                            Average = 2.4%



                             2%


                                           Average = 1.4%
                                                                                                                     Average = 1.2%


                             1%




                             0%
                                  Mar 2012




                                  Oct 2012



                                  Mar 2013




                                  Oct 2013



                                  Mar 2014




                                  Oct 2014



                                  Mar 2015




                                  Oct 2015



                                  Mar 2016




                                  Oct 2016



                                  Mar 2017
                                  Feb 2012




                                  Aug 2012

                                  Nov 2012




                                  Aug 2013
                                  Feb 2013




                                  Nov 2013




                                  Aug 2014
                                  Feb 2014




                                  Nov 2014




                                  Aug 2015
                                  Feb 2015




                                  Nov 2015




                                  Aug 2016
                                  Dec 2015
                                  Feb 2016




                                  Nov 2016




                                  Aug 2017
                                  Feb 2017
                                  Apr 2012
                                  Jun 2012
                                   Jul 2012



                                  Dec 2012


                                  Apr 2013
                                  Jun 2013
                                   Jul 2013



                                  Dec 2013
                                  Jan 2014

                                  Apr 2014
                                  Jun 2014
                                   Jul 2014



                                  Dec 2014


                                  Apr 2015
                                  Jun 2015
                                   Jul 2015




                                  Apr 2016
                                  Jun 2016
                                   Jul 2016



                                  Dec 2016


                                  Apr 2017
                                  Jun 2017
                                   Jul 2017
                                  Jan 2012


                                  May 2012


                                  Sep 2012


                                  Jan 2013


                                  May 2013


                                  Sep 2013




                                  May 2014


                                  Sep 2014


                                  Jan 2015


                                  May 2015


                                  Sep 2015


                                  Jan 2016


                                  May 2016


                                  Sep 2016


                                  Jan 2017


                                  May 2017


                                  Sep 2017
      Source: Analysis of Atlas data.
      Notes: Data through September 19, 2017. Flights with neither uncontrollable delays nor secondary delays. Percent of flights leaving at least 6 hours
      after the scheduled time of departure.



                             53. The increase in prolonged delays since December 2016 has been even more pronounced

                                    for flights that Atlas operates for the U.S. military. As shown in Exhibit 21, between



84
   In order to better control for weather and other factors outside of the Company’s control
(including customer requests for schedule changes), my analysis of extended delays, including
Exhibit 20, includes only flights that had neither uncontrollable delays nor secondary delays. I
measure prolonged delays relative to each flight’s original scheduled time of departure (“STD”).
While for many flights the ETD is the same as the STD, the STD may be different from the ETD
in cases where the ETD has changed based on a variety of factors, including requests by a customer
or weather.
                                                                               58
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           January 2012 and February 15, 2016, only 1.5% of Atlas flights operated for the U.S.

           military suffered delays of more than six hours. Since December 2016, however, the rate

           of prolonged delays for Atlas’s U.S. military flights has increased to four percent, with

           one month exceeding 10%. The erosion in Atlas’s on-time reliability for U.S. military

           flights is particularly damaging, not only because it impacts the country’s military

           readiness, but also because many of these flights transport service-men and -women

           home after their overseas deployments and delays in reuniting U.S. military personnel

           with their families after multi-month deployments in harm’s way can cause enormous

           stress and grief for these families. The Company has received numerous anguished

           complaints from the families of troops that have been impacted by pilot-induced delays

           on such flights.85




85
     See Carlson Decl. ¶ 180.
                                                 59
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                             EXHIBIT 21: PERCENT OF ATLAS FLIGHTS OPERATED FOR THE U.S. MILITARY WITH
                                               EXTENDED DELAYS OF AT LEAST 6 HOURS

                             11%
                                                                                           IBT Section 6
                             10%                                                          Notice (2/16/16)

                             9%

                             8%
     Delay Rate (6+ Hours)




                             7%

                             6%

                             5%
                                                                                                                                        Average = 4.0%
                             4%

                             3%

                             2%                                                                                   Average = 1.8%
                                   Average = 1.5%

                             1%

                             0%
                                   Mar 2012




                                   Oct 2012
                                   Nov 2012


                                   Mar 2013




                                   Oct 2013



                                   Mar 2014




                                   Oct 2014



                                   Mar 2015




                                   Oct 2015
                                   Nov 2015


                                   Mar 2016




                                   Oct 2016



                                   Mar 2017
                                   Aug 2012




                                   Aug 2013
                                   Feb 2012




                                   Nov 2014
                                   Apr 2012




                                   Feb 2015




                                   Aug 2015
                                   Jun 2012




                                   Feb 2013




                                   Nov 2013

                                   Feb 2014




                                   Aug 2014




                                   Feb 2016




                                   Aug 2016

                                   Nov 2016

                                   Feb 2017




                                   Aug 2017
                                   Dec 2012


                                   Apr 2013
                                   Jun 2013




                                   Apr 2014
                                   May 2012
                                    Jul 2012




                                   Dec 2013




                                   Jun 2014




                                   Dec 2014




                                   Apr 2017
                                   Apr 2015
                                   Jun 2015




                                   Dec 2015


                                   Apr 2016
                                   Jun 2016
                                   May 2015
                                    Jul 2015




                                   May 2016
                                    Jul 2016



                                   Dec 2016




                                   Jun 2017
                                   May 2017
                                    Jul 2017
                                   Sep 2017
                                   Jan 2012




                                   Sep 2012




                                   May 2013
                                    Jul 2013
                                   Jan 2013




                                   Sep 2013




                                   May 2014
                                    Jul 2014
                                   Jan 2014




                                   Sep 2014


                                   Jan 2015




                                   Sep 2015


                                   Jan 2016




                                   Sep 2016


                                   Jan 2017
      Source: Analysis of Atlas data.
      Notes: Data through September 19, 2017. Flights operated for the U.S. military with neither uncontrollable delays nor secondary delays. Percent of
      flights leaving at least 6 hours after the scheduled time of departure.



                             54. In order to more rigorously quantify the impact of changes in pilot behavior on the rate

                                   of prolonged delays, I estimate a regression model using the prolonged delay rate as the

                                   independent variable, and control for other factors that may systematically influence long

                                   days.86 The regression model includes Industry D0 Delay Rate, which controls for

                                   factors that may result in industry wide delays on a given day, Monthly Block per Pilot,

                                   which controls for pilot utilization. Likewise, to control for prolonged delays that maybe

                                   the result of maintenance issues, the regression model includes Long AOS Rate, a



86
  As with Exhibit 20 and Exhibit 21, my prolonged delay regression is estimated on the subset of
Atlas flights that did not experience an uncontrollable (e.g., weather-, ATC-, or customer-driven
delay) or secondary delay. Put differently, the sample is isolated to flights that were not delayed
for reasons outside of the Company’s or pilot’s control.


                                                                             60
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         variable that measures the percent of aircraft out of service for unscheduled reasons for

         at least 4 hours.87 The regression also includes day-of-week and week-of-year fixed

         effects.


     55. To measure the incremental effects of changes in pilot behavior since the Union sent its

         Section 6 notice, I include two dummy variables: D(Feb 16, 2016-Nov 30, 2016) takes

         the value one on each day between February 16, 2016 and November 30, 2016 (inclusive)

         and is zero otherwise, and D(post-Dec 1, 2016) takes the value one for each day on or

         after December 1, 2016. While D(Feb 16, 2016-Nov 30, 2016) captures the initial

         increase (if any) of prolonged delays due to changes in pilot behavior that occurred after

         the Union’s Section 6 notice, D(post-Dec 1, 2016) captures the effect of more recent

         changes in pilot fatigue calls, short-notice sick calls, and an unwillingness to pick up

         open time that started to rise more prominently towards the end of 2016 (see Section IV

         above).


     56. Exhibit 22 summarizes the results from the prolonged-delay regression for: (1) all Atlas

         flights, (2) Atlas military flights; (3) DHL/Amazon flights; and (4) all other Atlas flights

         and shows that while prolonged delays remained within normal bounds between

         February 16, 2016 and the end of November 2016, starting in December 2016 (i.e.,

         around the time that short-notice sick calls began to increase and open time acceptances

         began to decrease) the prolonged delay rate increased by 1.18 percentage points, an



87
   Because extended delays are likely to be correlated with long unscheduled AOS events and not
short AOS events and because the increase of maintenance discrepancy reports from pilots is likely
to result in short AOS events, I use the rate of AOS events longer than 4 hours as an independent
variable in the regression.
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         increase of 83%, after controlling for factors that are expected to be correlated with

         prolonged delays. This result is statistically significant at the 99% confidence level for

         all Atlas flights as well as all three subsets of Atlas flights. Indeed, Exhibit 22 shows that

         Atlas’s flights for the U.S. military have been particularly hard hit by changes in pilot

         behavior, with prolonged delays increasing by 3.67 percentage points, an increase of over

         200%. Flights for Atlas’s two main express-package customers—Amazon and DHL—

         have also experienced an increase in prolonged delays of 0.62 percentage points.88 As

         noted earlier, prolonged delays—while relatively infrequent—are particularly harmful

         for these carriers as their businesses depend critically on flights reaching their sorting

         hubs on time so that the packages onboard their flights can be transferred to a subsequent




88
   Moreover, as shown in Appendix D, the finding that the extended delay rate has increased is
robust to a variety of alternative modelling specifications (i.e., the conclusion is unchanged using
a variety of different samples or assumptions). For example, columns 1 and 2 of appendix D show
that the increase in prolonged delays in Atlas’s domestic network since December 1, 2016 has
been approximately 0.8 percentage points while for international flights, the increase has been
approximately 1.9 percentage points, after controlling for other factors indicating that the change
in behavior has resulted in delays to both the domestic and international networks. Columns 3 and
4 show that the same conclusion holds if prolonged delays are measured as delays longer than four
or eight hours respectively. Because the base model in column 1 of Exhibit 22 does not include
flights that were delayed for uncontrollable reasons such as weather and customer requests, the
base model does not need to control for weather or control for the composition of Atlas’s
customers. Nevertheless, as a robustness test, column 5 of appendix D adds control variables for
weather and customer composition to the base model. When these variables are included, the
estimated coefficient on the D(post-Dec 1, 2016) is slightly larger than in the base model. The
estimated coefficients on all the weather and customer variables are statistically insignificant in
this regression model, indicating that—as expected—these controls are not required due to the
sample excluding uncontrollable delays. Lastly, column 6 of appendix D replicates column 5 but
includes all flights, including those with uncontrollable or secondary delays. As expected, once
these flights are included in the regression the coefficients on the customer controls become
significant. The estimated coefficient on the D(post-Dec 1, 2016) in column 6 is much larger than
in the base model at 0.050 and indicates that if all flights are included in the sample, the extended
delay rate has increased by 5.0 percentage points since December 1, 2016 after controlling for
other factors.
                                                 62
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              flight in order to reach their final destinations (and in turn, the ultimate customers).

              Overall, based on the estimated coefficient from column (1), the combined effect of

              changes in pilot behavior since December 2016 have contributed to approximately 380

              prolonged delays over and above the number that would have been expected to occur.


EXHIBIT 22: REGRESSION RESULTS PERCENT OF ATLAS FLIGHTS WITH EXTENDED DELAYS
                             OF AT LEAST 6 HOURS

                                                   (1)                       (2)                      (3)                       (4)
                                                                    Extended delay rate       Extended delay rate       Extended delay rate
                                           Extended delay rate
Variables                                                                (Military)            (DHL and Amazon)          (All other flights)

D(Feb. 16, 2016 to Nov. 30, 2016)               -4.33e-05                  0.00833                   0.00226                  -0.00441
                                                (0.00155)                 (0.00525)                 (0.00178)                 (0.00371)
D(post-Dec. 1 2016)                              0.0118**                  0.0367**                 0.00616**                  0.0235**
                                                (0.00174)                 (0.00811)                 (0.00172)                 (0.00485)
Industry D0 Delay Rate                            0.0161                    -0.0189                   0.0203                    0.0422
                                                 (0.0124)                  (0.0406)                  (0.0135)                  (0.0279)
Monthly Block per Pilot                        0.000599**                 0.000961                  9.52e-08                   0.00107*
                                               (0.000182)                (0.000626)                (0.000166)                (0.000447)
Long AOS Rate                                     0.160**                    0.0572                  0.0731**                   0.267**
                                                 (0.0273)                  (0.0862)                  (0.0256)                  (0.0671)
D(Sunday)                                        0.00383*                   0.00214                  0.00291                   0.00172
                                                (0.00195)                 (0.00762)                 (0.00206)                 (0.00428)
D(Monday)                                         0.00114                   -0.0106                -0.000210                   0.00831
                                                (0.00169)                 (0.00573)                 (0.00161)                 (0.00459)
D(Tuesday)                                        0.00182                  -0.00574                -0.000329                   0.00727
                                                (0.00178)                 (0.00596)                 (0.00167)                 (0.00431)
D(Wednesday)                                    0.000967                   -0.00871                  0.00187                   0.00696
                                                (0.00170)                 (0.00575)                 (0.00172)                 (0.00454)
D(Thursday)                                       0.00259                   0.00733                  0.00269                   0.00261
                                                (0.00179)                 (0.00790)                 (0.00191)                 (0.00404)
D(Friday)                                        -0.00138                 -0.00572                  -0.00169                   0.00620
                                                (0.00159)                 (0.00581)                 (0.00141)                 (0.00448)
Constant                                        -0.0306**                   -0.0365                 -0.00654                  -0.0633**
                                                (0.00953)                  (0.0294)                 (0.00961)                  (0.0220)

Observations                                      2,089                    2,044                     2,089                     2,088
R-Squared                                         0.094                    0.052                     0.055                     0.078
Robust standard errors in parentheses
** p<0.01, * p<0.05
Data through September 19, 2017. Week of year fixed effects not shown. Flights with neither uncontrollable delays nor secondary delays. Delays of
at least 6 hours relative to STD.



                 Increases in Short, But Highly Prevalent “BOOT” Delays


     57. In addition to the increase in prolonged, multi-hour, delays, the Union’s orchestrated

              BOOT campaign also has led to significant, widespread operational disruptions for the

              Company and its customers. While changes in pilot behavior aimed at departing at

              exactly the ETD even once loaded and ready may appear—at first glance—to be little

                                                                      63
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    more than a nuisance with minor operational impact, the aggregate impact of such delays

    have been substantial because they apply to the majority of Atlas’s flights.


58. In order to estimate the effect that the BOOT campaign has had on Atlas’s operations,

    Exhibit 23 re-estimates my earlier BOOT regressions using the average minutes of delay

    (relative to ETD) as the dependent variable. Column 1 shows the regression for the

    average minutes of delay for the entire Atlas fleet, while columns 2 and 3 estimate the

    regression model for the 767 and 747 fleet respectively. The coefficient on the D(post-

    February 16, 2016) variable in column 1 of Exhibit 23 measures the change in the

    average minutes of departure delay since February 16, 2016 and demonstrates that since

    the Union sent the Section 6 notice, the average minutes of delay has increased by 6.3

    minutes, an increase that is statistically significant at the 99% level of confidence.

    Columns 2 and 3 show that the average minutes of delay has increased by 4.8 minutes

    for the 767 fleet and by 6.8 minutes for the 747 fleet. Both of these estimates are also

    statistically significant at the 99% confidence level and indicate that the BOOT campaign

    at Atlas has been widespread and indiscriminate.




                                          64
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EXHIBIT 23: REGRESSION RESULTS FOR AVERAGE MINUTES OF DELAY RELATIVE TO ETD
FOR ATLAS FLIGHTS WITH NEITHER UNCONTROLLABLE DELAYS NOR SECONDARY DELAYS
                                                            (1)                  (2)                  (3)

                                                     Average Minutes of   Average Minutes of   Average Minutes of
       Variables                                           Delay              Delay, 767           Delay, 747


       D(post-February 16, 2016)                           6.325**              4.756**              6.769**
                                                           (0.419)              (0.634)              (0.451)
       Industry D0 Delay Rate                              8.690**               4.414               7.745**
                                                           (1.966)              (3.232)              (2.278)
       Monthly Atlas Departures                           0.00214**           0.00711**             0.00295*
                                                         (0.000748)           (0.00220)            (0.00142)
       Daily Atlas Departures                              0.00717              -0.0181              0.0307
                                                          (0.0138)             (0.0480)             (0.0195)
       Monthly Average Flight Time                          1.035                1.176                1.180
                                                           (0.963)              (1.779)              (0.778)
       Monthly Block per Pilot                             -0.149**              -0.145             -0.144**
                                                          (0.0471)             (0.0748)             (0.0478)
       Daily Block Hours per Aircraft                       0.142               0.599**              -0.0530
                                                           (0.134)              (0.222)              (0.123)
       Average Fleet Age                                   0.324**              -0.0450              0.372**
                                                           (0.120)              (0.112)              (0.123)
       % of Aircraft Under Unscheduled Maintenance          5.801                -2.244               6.100
                                                           (3.514)              (3.526)              (3.691)
       New MELs per Aircraft                               2.486**               -0.258              2.646**
                                                           (0.824)              (1.574)              (0.955)
       Share 747 departures                                 6.357*
                                                           (2.902)
       % ACMI                                               -0.990              2.138               -5.291*
                                                           (2.277)             (8.682)              (2.109)
       % DHL                                                -2.579              -0.169               -4.715
                                                           (2.894)             (2.867)              (3.147)
       % Military Passenger                                 2.713              -6.505**              -3.003
                                                           (3.386)             (2.263)              (3.988)
       % of Departures 7am-10am                             -3.532              -0.708               -2.751
                                                           (2.580)             (3.270)              (2.705)
       % of Departures 10am-3pm                             2.418               3.518                1.928
                                                           (2.542)             (3.032)              (2.502)
       % of Departures 3pm-9pm                              1.680               0.332                1.678
                                                           (2.302)             (1.989)              (2.496)
       Extreme Heat                                         13.34               -6.733               23.25*
                                                           (7.746)             (9.403)              (9.041)
       Extreme Cold                                         -3.125              -5.074               -3.060
                                                           (3.096)             (3.394)              (2.986)
       Rain                                                 -0.101             -0.0159               -0.137
                                                           (0.110)             (0.116)              (0.128)
       Snow                                                 4.125               1.904                9.427
                                                           (8.363)             (6.000)              (9.845)
       Constant                                            -33.13**             -17.55              -25.75**
                                                           (6.843)             (10.56)              (5.741)

       Observations                                        2,089                1,721                2,089
       R-Squared                                           0.656                0.467                0.593
       Robust standard errors in parentheses
       ** p<0.01, * p<0.05
       Flights with neither uncontrollable delays nor secondary delays. Day of week, week of year, and
       departure airport fixed effects not shown. Average minutes of delay relative to ETD. Data from
       January 1, 2012 to September 19, 2017.



  59. The effects of the BOOT campaign have been directly felt by Atlas’s e-commerce and

      express package customers (such as Amazon and DHL) and by the consumers,
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           businesses, hospitals, and other institutions throughout the country and around the world

           that rely on those companies.89 For example, a senior representative from a large

           customer complained to Atlas about a July 23, 2017 flight: “[a]fter arrival at [Allentown

           airport], the aircraft was ready for departure to [Ontario airport] at 1955Z.             The

           expectation was set to depart ASAP upon quick-turn of the aircraft to ensure an on-time

           arrival . . . . The aircrew refused to depart until the ‘scheduled’ time set by Atlas (2039Z).

           The issue . . . was escalated to Atlas and the aircraft blocked out at 2023Z . . . .”90


       60. In sum, whether measured by changes in the less frequent—but more harmful—

           prolonged delays that have coincided with statistically significant increases in pilot

           fatigue calls, short-notice sick calls, pilot write-ups and an unwillingness to accept open

           time, or by the prevalent and systemic increase in short “BOOT” delays that have come

           directly at the urging of the Union, the overall effect of all of the changes in pilot behavior

           at Atlas since the Union sent its Section 6 notice has been a substantial erosion in the

           Company’s operations and, as a result, a substantial loss in goodwill among Atlas’s

           customers. Moreover, based on the analysis described above, it is my opinion that the

           decline in Atlas’s operational reliability since the Union sent its Section 6 notice is not

           the result of random statistical variation or other factors, but rather, is the result of a

           concerted effort by Atlas’s pilots—directed by the Union—to exert leverage on the

           Company during the current contract negotiations.




89
  Since Atlas began operating flights for Amazon in early August 2016, approximately 50 percent
have left at the exact estimated departure time while an additional 25 percent have left after the
estimated departure time.
90
     Carlson Decl. ¶ 34 Ex. 88.
                                                    66
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VI. IT IS REASONABLE TO CONCLUDE THAT ATLAS’S PILOTS WILL
    TARGET THE COMPANY’S OPERATIONS TO EXERT EVEN
    GREATER LEVERAGE DURING THE UPCOMING PEAK SHIPPING
    SEASON
  61. As described in Sections IV and V above, changes in pilot behavior—directed by the

      Union—have already caused substantial harm to Atlas and its customers, and in turn,

      have directly harmed U.S. consumers and businesses that rely on the orderly flow of

      merchandise, as well as many U.S. service-men and -women and their families. These

      operational disruptions and the concomitant harm to Atlas’s customers have already been

      substantial, and there is little—if any—reason to believe they will subside. To the

      contrary, because the overall goal of these changes in pilot behavior is to cause

      operational disruptions aimed at exerting leverage on the Company during the current

      contract negotiations, it is reasonable to conclude that these disruptions will increase

      when they have the potential to cause the maximum disruption, i.e., leading up to and

      during the critical holiday shopping (and shipping) season.


  62. The Union has already demonstrated a willingness to engage in campaigns designed to

      encourage its pilots to change their behavior—thereby disrupting Atlas’s flights—

      specifically during the peak holiday shopping and shipping season. The Union has also

      demonstrated a willingness to try to exert even greater leverage over the Company during

      the current contract negotiations by creating uncertainty over the ability of one of Atlas’s

      largest customers (Amazon) to be able to fulfill its customers’ holiday purchases due to

      a purported shortage of pilots. For example, Atlas pilots picketed Amazon’s headquarters




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             on December 7, 2016 carrying placards reading “Can Amazon Deliver?”91 Shortly

             thereafter, on December 16, 2016, the Union began running advertisements on various

             social media and internet search sites (e.g., Facebook and Google) targeted at Amazon

             customers, including a link that takes them to the website http://canamazondeliver.com.92

             The website, paid for by the Airline Professionals Association, Teamsters Local 1224,93

             warned holiday shoppers that “Amazon customers may want to think twice before

             ordering last-minute deliveries”94 because “there may not be enough pilots to deliver for

             Amazon around the holidays.”95 The website also notes that Amazon’s Prime Air (i.e.,

             the division of Amazon that is responsible for transporting its packages via air) contracts

             with Atlas and another cargo carrier ABX Air Inc. (“ABX”) to operate its Prime Air

             flights and tells consumers that they should “tell Amazon executives to make sure its

             contracted pilots have a fair contract to ensure stability and that there are enough qualified

             pilots to get the job done.”96


       63. Various national news organizations reported on the Union’s campaign to raise doubts

             regarding Amazon’s ability to meet the demands of holiday shoppers. For example, a


91
   See “Pilots for Amazon contractor picket Seattle HQ over staffing, contract issues”,
SeattlePI.com, December 7, 2016 (http://www.seattlepi.com/business/article/Pilots-for-Amazon-
contractor-picket-Seattle-HQ-10781699.php#photo-12007381).
92
  See “Pilots Who Fly Amazon Planes Suggest Company Might Not Deliver”, Bloomberg,
December 16, 2016 (https://www.bloomberg.com/news/articles/2016-12-16/pilots-who-fly-
amazon-planes-suggest-company-might-not-deliver).
93
     Source: http://canamazondeliver.com/.
94
     Ibid.
95
     Ibid.
96
     Ibid.


                                                     68
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            December 18, 2016 segment on ABC’s Good Morning America covered the online

            advertising campaign paid for by the Union and reported that “millions of Amazon

            customers who rely on the company’s two day Prime delivery, getting a startling warning

            of what some claim is a possible holiday doomsday scenario.”97 The Good Morning

            America segment also included an interview with the Union’s Atlas Executive Council

            Communications Chair (Atlas pilot Captain Mike Griffith) associating Amazon’s

            potential delivery disruptions to alleged understaffing at Atlas “due to us not having an

            industry standard contract.”98


       64. The Union has already alluded to repeating last year’s targeted slowdown during the

            upcoming 2017 peak season. For example, in a June 23, 2017 Chairman’s Update the

            Union wrote “[w]e are getting into the busy season during the second half of the year and

            it is now more important than ever to stay strong with your SOLIDARITY. YOU must

            not only honor the CBA every day and on every flight, but also hold management

            accountable.”99




97
   See “Amazon’s Pilot Union Warns that Some Orders May Not Be Delivered for the Holidays”,
Good Morning America video clip at time 0:40 (http://abcnews.go.com/GMA/video/amazons-
pilots-union-warns-orders-delivered-time-holidays-44265844)
(http://abcnews.go.com/GMA/video/amazons-pilots-union-warns-orders-delivered-time-
holidays-44265844)
98
     Ibid at time 1:13.
99
     See Carlson Decl. ¶ 119 Ex. 63.


                                                  69
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         Atlas’s Pilots Responded to the Union’s Encouragement to Take Actions Aimed at
         Disrupting the Company’s Operations During Last Year’s Peak Shipping Season

      65. There is ample evidence demonstrating that Atlas’s pilots responded to the Union’s

          directive to create the appearance of a pilot shortage during last year’s holiday shipping

          season. For example—and described below—shortly after the Union launched its

          http://canamazondeliver.com website, the Company experienced a surge in the

          proportion of 767 pilots calling in sick.100 Moreover, in the weeks leading up to the peak

          holiday season, the proportion of Atlas’s pilots making themselves available for potential

          overtime flying assignments reached historically low levels.


        Increases in 767 Pilot Sick Rates During Last Year’s Peak


      66. Between December 16, 2016 (the date that the Union launched its canamazondeliver.com

          website) and December 24, 2016, the Company experienced a dramatic increase in the

          proportion of its 767 pilots using sick days. For example, on December 17, 2016, the

          proportion of Atlas’s 767 pilots that were out sick reached 6.5%, more than twice the

          average rate since the start of 2016 (excluding December 16-24, 2016) of 2.5%. Sick

          rates among certain subsets of Atlas’s 767 pilots were even higher.101 For example, sick




100
    The Boeing 767 is Atlas’s second largest fleet type (after the Boeing 747) is the used for much
of the Company’s flying for its express package customer DHL, as well as for all of its flying on
behalf of Amazon’s Prime Air.
101
   In calculating the daily 767 pilot sick rates used throughout my declaration, I divide the number
of 767 pilots (Captains and First Officers) on short term medical leave each day by the number of
active 767 pilots available to fly that month, excluding those pilots who were exclusively assigned
to training, long term medical leave, military leave, leave of absence, instructor flying,
administrative duty, management and vacation in the month. Because the denominator includes
pilots that were not scheduled to be available on a particular day (i.e., those on vacation), the sick
rates shown in Exhibit 24 understate the sick rates among certain subsets of Atlas’s 767 pilots.
                                                 70
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           rates among Atlas’s 767 Captains who were scheduled to be on duty on a particular day

           averaged over 18% between December 16 and December 20, 2016.


67. The high aggregate sick rate among the Company’s 767 pilots in the midst of last year’s

           peak shipping season was not the result of seasonal factors. For example, Exhibit 24

           compares 767 pilot sick rates for the same nine day period in December (Dec. 16th - Dec.

           24th) for each of the last three years and demonstrates that the mid-December sick rate in

           2016 was over 50% higher than the rate it was in 2015, and more than double the rate it

           was during the same nine-day period in 2014.


EXHIBIT 24: COMPARISON OF PRE-HOLIDAY SICK RATES FOR ATLAS 767 PILOTS, 2016
                             VS. 2015 AND 2014


                                 6%

                                                                            5.0%
                                 5%
   Average 767 Pilot Sick Rate




                                 4%
                                                    3.2%
                                 3%
                                      2.3%
                                 2%


                                 1%


                                 0%
                                      2014          2015                    2016
  Source: Analysis of Atlas data.
  Note: Data represents December 16-24.


68. The sick rates among the Company’s 767 pilots during last year’s December peak were

           also well outside their overall historical distribution. For example, Exhibit 25, shows

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  the distribution of daily sick rates for Atlas’s 767 pilots for the period January 1, 2014 to

  February 16, 2016 (i.e., until the Union sent its Section 6 notice) and demonstrates that

  during the control period, 767 pilot sick rates have exceeded 6.0% on only 1.4 percent of

  days and exceeded 5% on only 4.6 percent of days. Exhibit 25, also shows that Atlas’s

  767 pilot sick rate exceeded 6.0% on two of the nine days from December 16-24, 2016

  (i.e., December 16 and 17) and exceeded 5% on three of the remaining days from

  December 16-24, 2016 (i.e., December 18, 19 and 20). Given the historical distribution

  of pilot sick rates in mid-December 2016, the probability of observing five consecutive

  days with pilot sick rates at or above 5% is exceedingly remote (i.e., less than one-in-4.6

  million). Moreover, as shown in Appendix E, a regression analysis that controls for a

  variety of factors that are systematically correlated with pilot sick rates (i.e., rates of

  communicable disease, seasonality, levels of pilot flying, etc.) demonstrates that between

  December 16, 2016 and December 24, 2016, Atlas’s 767 Captain and First Officer sick

  rates were elevated by 2.0 and 2.7 percentage points, respectively and that these changes

  were statistically significant at the 99% level of confidence. Consequently, it is my

  opinion that the elevated sick rate among Atlas’s 767 pilots between December 16 and

  December 24, 2016 (and particularly between December 16 and December 20) was not

  due to random statistical variation or other factors and instead was the result of a

  concerted action by pilots to disrupt the Company’s operations in the peak holiday

  shipping days in order to exert leverage over the Company during collective bargaining

  negotiations.




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                         EXHIBIT 25: COMPARISON OF ATLAS 767 PILOT SICK RATES VS. HISTORICAL
                                                   DISTRIBUTION

                                                     Dec. 24, 2016 (2.9%)

                  35%
                                                                                                               Dec. 16, 2016 (6.2%)
                                                                          Dec. 23, 2016 (3.5%)                 Dec. 17, 2016 (6.5%)
                  30%                    29.3%
                                                          27.6%
                                                                                        Dec. 21, 2016 (4.4%)
                  25%                                                                   Dec. 22, 2016 (4.4%)
                                                                            21.1%
Percent of Days




                                                                                                 Dec. 20, 2016 (5.0%)
                  20%
                                                                                                 Dec. 18, 2016 (5.9%)
                                                                                                 Dec. 19, 2016 (5.9%)
                  15%

                                                                                          9.4%
                  10%        8.0%

                  5%                                                                                     3.2%
                                                                                                                           1.4%
                  0%
                            0 - 1.0%   1.0% - 2.0%     2.0% - 3.0%    3.0% - 4.0%      4.0% - 5.0%    5.0% - 6.0%         > 6.0%
                                                                       Sick Rate
    Source: Analysis of Atlas data.
    Note: Distribution is based on data from January 1, 2014 – February 15, 2016.



                          Reduction in Pilots Willingness to Volunteer for Open Time


          69. The sharp and statistically significant increase in sick rates among Atlas’s 767 pilots

                        during last year’s peak holiday season came on the heels of a steady and dramatic decline

                        in the number of Atlas pilots who indicated a willingness to volunteer for open time

                        flying opportunities. As shown in Exhibit 26, the percent of Atlas pilots who either

                        placed themselves on the volunteer list for open time flying or elected to pick up open

                        time flying on their days off started decreasing after the Union sent its Section 6 notice

                        on February 16, 2016 and reached its lowest levels in several years between “Black

                        Friday” (the day after Thanksgiving and a kick-off to the peak holiday shopping season)

                        and Christmas. Based on the historical distribution of the proportion of Atlas pilots who

                        either placed themselves on the volunteer list for open time flying or elected to pick up

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             open time, the probability that the observed rate of open time volunteering/flying over

             this period could have been the result of random statistical variation is less than one-in-

             one billion.102


      EXHIBIT 26: PERCENT OF ACTIVE PILOTS VOLUNTEERING FOR OPEN TIME OR FLYING
                                       OVERTIME




 Source: Analysis of Atlas data.
 Note: Data through September 19, 2017. Pilots volunteering for or working open time includes pilots who volunteered to work on their day off
 and those who picked up open-flying. Shaded area reflects the dates between Black Friday and Christmas 2016.




102
    During the period January 1, 2014 to February 16, 2016, the daily rates of Atlas pilots who
volunteered for or accepted open time flying assignments followed a “normal”-shape distribution
and the rate fell below 2.2% on only one percent of all days during this period. However, during
last year’s holiday peak, the proportion of pilots who volunteered for or accepted an open time
flying assignment was below 2.2% on each day between Black Friday (i.e., November 25, 2016)
and December 24, 2016. Based on its historical distribution, the probability of observing 30 days
in a row where the proportion of pilots who volunteered for or accepted an open time flying
assignment was below 2.2% is less than one-in-one billion.


                                                                        74
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       70. In light of the exceedingly remote probability of either the observed 767 pilot sick rates

           or the observed proportion of Atlas’s pilots willing to volunteer for open time flying

           opportunities during last year’s peak holiday shipping season, both of which occurred in

           the wake of the Union encouraging Amazon’s customers to “tell Amazon executives to

           make sure its contracted pilots have a fair contract to ensure stability and that there are

           enough qualified pilots to get the job done,”103 it is my opinion that these changes in pilot

           behavior were not the result of random statistical variation, but rather, represented a

           concerted action by Atlas’s pilots aimed at creating the appearance of a pilot shortage

           during last year’s peak holiday season. Indeed, as shown in Exhibit 20 above, the

           proportion of Atlas’s flight suffering a prolonged delay rose to its then-highest level in

           December 2016. Moreover, given the increased rhetoric by the Union aimed at creating

           doubt as to Atlas’s ability to operate Amazon’s schedule during this year’s upcoming

           holiday season and the statistically significant changes in pilot behavior that have already

           been occurring, it is reasonable to expect that the Company’s pilots will target Atlas’s

           operations again this holiday season in an attempt to exert further leverage on the

           Company during their ongoing contract negotiations.


VII. CONCLUSIONS

       71. In sum, based on the analysis summarized in this report, it is my opinion that the changes

           in numerous measures of pilot behavior (e.g., increases in the proportion of sick calls

           made on short-notice, increases in fatigue calls, decline in the willingness of pilots to




103
      Source: http://canamazondeliver.com/.
                                                   75
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    pick up open time or depart once their aircraft is loaded and ready, etc.), which have

    resulted in a deterioration of the Company’s operating performance and a loss of

    goodwill among many of its key customers, are the result of a concerted job action by

    Atlas’s pilots aimed at exerting leverage on the Company during the current contract

    negotiations.


72. Changes in pilot behavior since the Union sent its Section 6 notice have already led to

    several hundred of Atlas’s flights suffering prolonged delays and the majority of Atlas’s

    flights departing several minutes later than they would otherwise depart under normal

    pilot behavior. Based on the escalating level of communications directing pilots to

    deviate from their status quo behavior and the concomitant increase in pilot-driven

    disruptions the Company has been experiencing, it is reasonable to conclude that Atlas’s

    pilots will target the upcoming peak holiday shopping and shipping season in an attempt

    to cause maximum disruption to Atlas and its customers. If this were to occur, Atlas

    would be at risk of suffering further and irreparable harm. This is because Atlas competes

    in the highly competitive and largely commoditized market for providing cargo lift,

    whereby its customers—which depend on reliable service to meet their own customers’

    needs—can source lift from multiple carriers. Thus, if the contracted flight services

    provided by Atlas fail to meet its customers’ expectations with regard to reliability, the

    highly commoditized nature of offering cargo lift means that these customers can replace

    Atlas with a carrier that the customers deem better able to offer more reliable and

    dependable service.




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                        APPENDIX A: CURRICULUM VITAE
                                   Darin N. Lee, Ph.D.


OFFICE:               Compass Lexecon
                      200 State Street, 9th Floor
                      Boston, MA 02109
                      (617) 520-0200 main
                      (617) 520-0255 direct
                      E-mail: Darin.Lee@compasslexecon.com

PROFESSIONAL EXPERIENCE:
Compass Lexecon, Boston, MA
Executive Vice President, April 2013 – Present
Senior Vice President, March 2011 – March 2013

LECG, LLC, Cambridge, MA
Director, Transportation and Auction Groups, January 2011 – February 2011
Principal, Transportation and Auction Groups, July 2005 – December 2010
Senior Managing Economist, Transportation and Auction Groups, January 2002 – June
2005
Managing Economist, Transportation and Auction Groups, January 2001- December 2001
Senior Economist, Transportation and Auction Groups, July 1998 - December 2000

EDUCATION:
Brown University, Providence, RI,
      Ph.D., Economics, 1998
             Specialized Fields: Game Theory, Microeconomic Theory, Industrial
             Organization & Bargaining Theory

Brown University, Providence, RI
      A.M., Economics, 1995

Queen’s University, Kingston, Canada
      M.A., Economics, 1993

University of Victoria, B.C., Canada
       B.Sc. (Honors), 1991




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PUBLICATIONS IN REFEREED JOURNALS:
1) “Product Unbundling in the Travel Industry: The Economics of Airline Bag Fees”,
   with Jan K. Brueckner, Pierre Picard and Ethan Singer. Journal of Economic
   Management & Strategy, Vol. 24(3), pp. 457-484, Fall 2015.
2) “What’s Your Number? Interpreting the ‘Fair and Equitable’ Standard in Seniority
   Integration for Airlines and Other Industries”, with Ethan Singer. Economics of
   Transportation, Vol. 3 (2014), pp 2-15.
3) “City-Pairs Versus Airport-Pairs: A Market-Definition Methodology for the Airline
   Industry”, with Jan K. Brueckner and Ethan Singer. Review of Industrial
   Organization, Volume 44 (2014), Issue 1, pp. 1-25.
4) “Competition and U.S. Domestic Airfares: A Comprehensive Reappraisal”, with Jan
   K. Brueckner and Ethan Singer. Economics of Transportation, Volume 2(1), pp. 1-
   17, March 2013.
5) “Alliances, Codesharing, Antitrust Immunity and International Airfares: Do Previous
   Patterns Persist?” with Jan K. Brueckner and Ethan Singer. Journal of Competition
   Law & Economics, Volume 7(3), pp. 573-602, 2011.
6) “Retracting a Gift: How Does Employee Effort Respond to Wage Reductions?”, with
   Nicholas Rupp, Journal of Labor Economics, Volume 25, Number 4, October 2007,
   pp. 725-762.
7) “Domestic Codesharing, Alliances and Airfares in the U.S. Airline Industry”, with
   Harumi Ito, Journal of Law & Economics¸ Volume 50, pp. 355-380, 2007.
8) “The Impact of Passenger Mix on Reported Hub Premiums in the U.S. Airline
   Industry,” with María José Luengo Prado. Southern Economics Journal, Vol. 72,
   No. 2, pp. 372-394, 2005.
9) “Comparing the Impact of the September 11 Terrorist Attacks on International Airline
   Demand,” with Harumi Ito, International Journal of the Economics of Business,
   Volume 12, No. 2, pp. 225-249, 2005.
10) “Domestic Codesharing Practices in the U.S. Airline Industry”, with Harumi Ito,
    Journal of Air Transport Management, Vol. 11, No. 2, pp. 89-97, 2005.
11) “Assessing the Impact of the September 11th Terrorist Attacks on U.S. Airline
    Demand,” with Harumi Ito, Journal of Economics and Business, Volume 57 (1), pp.
    75-95, 2005. (Reprinted in Transnational Terrorism, S. Chermak and J. Freilich, Eds.,
    Ashgate, 2013).


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12) “Entry Patterns in the Southwest Airlines Route System,” with Charles Boguslaski and
    Harumi Ito, Review of Industrial Organization, Volume 25 (3), pp. 317-350, 2004.
13) “Are Passengers Willing to Pay More for Additional Legroom?” with María José
    Luengo Prado, Journal of Air Transport Management, Volume 10, No. 6, pp. 377-
    383, 2004.
14) “Lessons from the Nigerian GSM Auction,” Telecommunications Policy, Volume 27,
    pp. 407-416, 2003.
15) “An Assessment of Some Recent Criticisms of the U.S. Airline Industry,” Review of
    Network Economics, Vol. 2(1), pp. 1-9, March 2003.
16) “Concentration and Price Trends in the U.S. Domestic Airline Industry,” Journal of
    Air Transport Management, Volume 9, No. 2, pp. 91 –101, 2003.
17) “The Core for Economies with Asymmetric Information: An Axiomatic Approach,”
   with Oscar Volij, Journal of Mathematical Economics, Vol. 38, 1, pp.43-63, 2002.
18) “A Note on Individualistic Foundations of the Core in Economies with Asymmetric
   Information,” Economics Letters, Volume 61, pp. 203-208, 1998.


BOOKS AND BOOK CHAPTERS
1) Advances in Airline Economics, Volume 1, Competition and Antitrust, Editor.
   Amsterdam: Elsevier, 2006.
2) Advances in Airline Economics, Volume 2, The Economics of Airline Institutions,
   Operations and Marketing, Editor. Amsterdam: Elsevier, 2007.
3) “The Impact of Domestic Codesharing on Market Airfares: Evidence from the U.S.”,
   with Harumi Ito, in Advances in Airline Economics, Volume 1, Darin Lee, Editor,
   pages 141-162. Amsterdam: Elsevier, 2006.


UNIVERSITY TEACHING EXPERIENCE

     UNIVERSITY OF COLORADO-DENVER, Department of Economics, 1994 and 1995,
     Visiting Lecturer
              Courses in Graduate Microeconomics and Mathematical Economics.
     BROWN UNIVERSITY, Department of Economics, Fall 1993 - Spring 1997
     Teaching Assistant


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               Courses in Microeconomics, Bargaining Theory, Game Theory, Industrial
               Organization and Macroeconomics

PROFESSIONAL ENGAGEMENTS

Testimony & Expert Reports
   Expert report and testimony in the interest arbitration regarding the joint collective
    bargaining agreement for the pilots of Alaska Airlines and Virgin America; August
    2017.
   Expert report, rebuttal report and deposition testimony in Super98, LLC, Plaintiff, v.
    Delta Air Lines, Inc., Defendant, United States District Court, Northern District of
    Georgia, Atlanta Division, July 2017-September 2017.
   Expert declaration in re: Spirit Airlines, Inc. Plaintiff, v. Air Line Pilots Association,
    International; Spirit Airlines Master Executive Council; Stuart Morrison; Brian Coley;
    Michael Lorusso; Todd Hirshon; Michael Luckstone; Ryan Pachkofsky; James
    Ackerman, Tim Connors; And Antonio Nassar, Defendants, United States District
    Court, Southern District of Florida, Fort Lauderdale Division, Case No. 0:17-cv-
    60917, May 2017.
   Expert report and arbitration testimony in the matter of the Interest Arbitration
    between the Association of Professional Flight Attendants and American Airlines,
    Inc., January 5-7, 2017.
   Expert report, rebuttal report and deposition testimony in Daniel Grate, et al. v. Alaska
    Air Group, Inc. et al, United States District Court, Northern District of California, San
    Francisco Division, Case No. 16-cv-05165-WHA, November-December 2016.
   Expert report in a matter between a U.S. air carrier and one of its represented
    employee groups (records have been sealed by the court), 2016.
   Expert Declaration in the matter of arbitration between United Airlines, Inc. and the
    Air Line Pilots Association, International, Profit Sharing Grievance, Board No. 2012-
    08, Gr. No. 2012-U-AA-14R, et. al., Before the United Airlines, Inc. - Air Line Pilots
    Association, International System Board of Adjustment, July 2016.
   Expert report and arbitration testimony in the matter of the Interest Arbitration
    between the US Airways, Inc., and the Communication Workers of America – IBT,
    January 23, 2015.
   Expert report and arbitration testimony in the matter of the Interest Arbitration
    between the Association of Professional Flight Attendants and American Airlines, Inc.
    December 3-4, 2014.




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   Expert report and arbitration testimony in the matter between US Airways Inc., and
    Association of Flight Attendants – CWA. System Board of Adjustment Case No.
    2014-001-30-99-02, June 24-25, 2014.
   Expert report and arbitration testimony in the matter between Southwest Airlines and
    the Aircraft Mechanics Fraternal Association. System Board of Adjustment Case No.
    2933, July 2013.
   Expert report and arbitration testimony in the matter of Republic Airlines, Inc. and US
    Airways, Inc. American Arbitration Association Case No. 13 125 Y-00-133429-12.
    February – March 2013.
   Expert report and arbitration testimony in the matter of Christopher Abell and 969
    other current and former JetBlue Airways Pilots and JetBlue Airways Corporation.
    American Arbitration Association Case No. 11-160-01184-10. October 2012 – March
    2013.
   Expert testimony in the matter of United Airlines, Inc. and the Air Line Pilots
    Association, Int'l (Discharge of Anthony Freeman), Board No. 2009-17, ALPA Case
    No. 2009-U-33-9.
   Expert report and deposition testimony in State of Hawaii vs. Westchester Fire
    Insurance Company and Coregis Insurance Company, In the Circuit Court of the First
    Circuit, State of the State, Civil No. 07-1-13949-07 (RAT).
   Expert report and trial testimony in US Airways, Inc. v. US Airline Pilots Association
    and Michael J. Cleary, United States District Court, Western District of North
    Carolina, Charlotte Division, Civil Action No. 00371-RJC. July – August 2011.
   Expert testimony in the arbitration matter between US Airline Pilots Association and
    US Airways, Inc., In re: Transition Agreement Dispute No. 10. April – September
    2011.
   Merits and Class Certification Expert reports and deposition testimony in
    Delta/AirTran Baggage Fee Antitrust Litigation, Civil Action File Number 1:09, md-
    2089-TCB, United States District Court, Northern District of Georgia, Atlanta
    Division, 2010 – 2011.
   Expert submission in The Matter of an Arbitration Between Callahan Construction
    Company, Ltd. and Others. Vancouver, British Columbia, August 2010.
   Expert testimony in the arbitration matter between US Airline Pilots Association and
    US Airways, Inc., In re: Transition Agreement Disputes Nos. 12, 13 and 14. April
    2010.

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   Expert report in the matter of Mesa Air Group, Inc. and Freedom Airlines v. Delta Air
    Lines, Inc. In the United States District Court For The Northern District of Georgia,
    Atlanta Division. Civil Action File, No. 1:09: CV-0772-ODE. January 2010.
   Expert testimony in the matter of Air Line Pilots Association and United Airlines,
    Before the System Board of Adjustment in the Grievance of Council 34, Board No.
    2009-22, ALPA Grievance No. 2009-U-34-10.
   Expert report and deposition testimony in the matter of US Airways, Inc. vs. Kelly
    O’Donnell and Gary Tomada, United States District Court, District of New Mexico,
    No. 07-1235-MCA-LFG.
   Expert report in the matter of United Air Lines vs. Air Line Pilots Association, et. al,
    No. 08 CV 4317, United States District Court, Northern District of Illinois, Eastern
    District. (Joint with Daniel M. Kasper)
   Expert declaration in the matter of Congestion Management Rule for John F. Kennedy
    International Airport and Newark Liberty International Airport, U.S. Department of
    Transportation Docket No. FAA-2008-0517. (Joint with Daniel M. Kasper)
   Expert declaration in the matter of Congestion Management Rule for LaGuardia
    Airport, U.S. Department of Transportation Docket No. FAA-2006-25709. (Joint with
    Daniel M. Kasper)
   Expert report, deposition and trial testimony in Gary H. Ramey, et. al vs. District 141,
    International Association of Machinists and Aerospace Workers, et. al. United States
    District Court, Eastern District of New York, 2007.
   Expert report in Republic/NFR & C. Parking of Louisville v. Regional Airport
    Authority of Louisville and Jefferson County, Civil Action No. 3:01CV-633-S.
   Expert declaration in Star Alliance Application for Antitrust Immunity, Before the
    U.S. Department of Transportation, Dockets OST-05-22922, OST-96-1434. (Joint
    with Daniel M. Kasper)
   Expert testimony in SkyTeam Application for Antitrust Immunity, Before the U.S.
    Department of Transportation, Docket No OST-2004-19214. (Joint with Daniel M.
    Kasper)


Airline Labor Matters: Dr. Lee is an expert in labor matters regarding the airline and
related industries. Representative engagements include:
   For several major U.S. airlines, statistical analysis of potential labor slowdowns.


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   For several major U.S. airlines (both mainline and regional), provided expert analysis
    regarding labor negotiations in advance of Chapter 11 bankruptcy as well as analyses
    in conjunction with Section 1113(c), 1113(e) and 1114 contract relief.
   For several major U.S. passenger and cargo airlines, provided expert analysis and
    testimony in a variety of labor arbitrations.
   Analysis of the impact of a potential pilot strike on a major US airline and local
    economies.
   For a major U.S. airline, provided expert analysis regarding seniority integration
    issues.
   For a large airline union, provided independent expert testimony in class action lawsuit
    brought forth by a class of its members regarding effects of September 11th on U.S.
    airline industry.
   For an international airline caterer, provided expert analysis in contract interest
    arbitration.
   For several major U.S airlines, provided expert analysis in forced majeure labor
    arbitrations.
   For a major U.S. carrier, analysis of industry & economic issues in conjunction with
    Presidential Emergency Board regarding pilot negotiations.

Airline Economics, Competition Policy, and Financial Damages: Dr. Lee is an expert
in the airline industry and has in-depth knowledge of the economics of the airline industry,
airline data, airline ticket distribution, regulatory and competition policy issues.
Representative case experience include:


   Expert consulting to the Partnership for Open & Fair Skies related on the effect of
    Gulf carrier subsidies on international airline competition.
   Expert consulting to American Airlines and US Airways related to the American/US
    Airways merger.
   Expert consulting to United Airlines and Air Canada related to transborder joint
    venture, including presentations before the Canadian Competition Bureau.
   Expert consulting to United Airlines and ANA related to Transpacific joint venture,
    including presentations before the Singapore Competition Commission.



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   Expert consulting to United Airlines for United/Continental merger, including
    presentation of econometric analysis of pricing effects from merger to the U.S.
    Department of Justice.
   Provide expert consulting services to several major U.S. mainline and regional airlines
    in connection with Chapter 11 reorganization.
   Expert testimony and econometric analysis of on-time flight performance.
   Provide expert testimony and analysis for international airline alliances in support of
    antitrust immunity applications.
   Analysis of industry, economic & antitrust issues on behalf of three major U.S. airlines
    and industry group in class action suit regarding hidden city ticketing.
   Provided valuation of a major carrier’s U.S. slot holdings.
   Provided valuation of a major carrier’s Narita slots holdings and route authority.
   Comments on behalf of industry airline association regarding the use of market based
    mechanisms to reduce delay and congestion at U.S. airports.
   Analysis of industry, economic & antitrust issues on behalf of a major U.S. airline
    regarding the use of baggage templates at Dulles International Airport. (U.S. District
    Court for the Eastern District of Virginia, Civil Action No. 00-684-A).
   Provide consulting services to major industry group with regards to slot auctions and
    congestion pricing.
   Analysis of proposed rulemaking regarding demand management options at New
    York’s LaGuardia airport.
   Industry analysis for major airline in conjunction with post 9/11 workforce reductions.
   Analysis of industry & economic issues on behalf of industry backed Internet travel
    agency.
   Analysis of industry & economic issues for major U.S. and European alliance partners
    regarding a potential immunized alliance and Open Skies.
   Analysis of discriminatory airport rates, charges and access fees by U.S. and Canadian
    airports for air carriers and ground transportation providers.
   Authored whitepaper on behalf of major U.S. airline in support of codesharing
    application with major Hong Kong airline.
   Analysis of industry & economic issues on behalf of Chamber of Commerce for a U.S.
    metropolitan hub city.

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   Analysis of consolidation strategies for a major U.S. airline in conjunction with the
    proposed and realized industry mergers of 2001.
   Analysis of industry, economic & antitrust issues on behalf of United Air Lines in
    United Air Lines v. Mesa Airlines and Westair Commuter Airlines. (United States
    District Court for the Northern District of Illinois Eastern Division, No. 97 C4455).
   Analysis of industry, economic & damage issues on behalf of GATX/Airlog in
    GATX/Airlog v Evergreen International Airlines, Bank of New York, AIA, and G.E.
    Capital. (U.S. District Court, Oakland Division, No. C96-2494CW).
   Analysis of industry and economic issues on behalf of American Airlines regarding
    application for new service to China.
   Analysis of industry & damage issues for ValuJet/AirTran is ValuJet/AirTran vs.
    Sabreliner and SabreTech. (Circuit Court of St. Louis County, State of Missouri
    #97CV-003725)
   Analysis of industry & economic issues for a major U.S. airline in predatory pricing
    suit.
   Analysis of industry & economic issues for a major U.S. airline in response of
    allegations of hub dominance.
   Analysis of industry, regulatory and economic issues for a major U.S. airline and
    Canadian holding company during negotiations regarding the potential acquisition of
    Canadian Airlines.

Auctions and Markets: Dr. Lee also specializes in the auctions, markets and game theory.
He has served as Chief Auction Strategist for numerous wireless telecommunication and
Internet firms during spectrum auctions in the US, UK, Nigeria, Egypt, Brazil and
Switzerland where he was responsible for rules analysis, development of bidding strategies,
and round-by-round analysis of bidding behavior. Dr. Lee has also provided auction advice
to firms in the electricity, airline and diamond industries and has published articles on
auctions and game theory in policy journals such as Telecommunications Policy as well as
leading economic journals such as the Journal of Mathematical Economics and Economics
Letters. Representative engagements include:

   Chief auction strategist for a Google in FCC Auction #73, 2007-2008.
   For a U.S. wireless telecommunications firm (2006): Chief auction strategist during
    FCC auction #66 (AWS).
   For a major auction software company (2006): Provided logic and software beta
    testing for Illinois electric capacity auction software.

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   For MTN of South Africa (2006): Chief auction strategist during Egyptian Mobile
    License Auction.
   For a major auction software company (2002): Analyzed rules and tested software for
    Texas Electricity Capacity auction.
   For an industry group representing major U.S. Airlines (2001-2003): Consulting
    services on the feasibility of airport take-off and landing slot auctions.
   For a major producer and market maker of diamond rough (2001-2002): Consulting
    services on pricing, auctions, and market microstructure.
   For a major U.S. Electric Utility (2001): Auction Design Consultant, Basic Services
    Generation Auction (New Jersey)
   For MTN of South Africa (2000/2001): Principal Auction Strategist, Nigerian GSM
    auction.
   For an international telecommunications firm (2000): Principal Auction Strategist,
    UK LMDS auction.
   For an international telecommunications firm (1999-2000): Principal Auction
    Strategist, UK 3G auction.
   Provided analysis of the “winner’s curse” in U.S. vs. Nextwave bankruptcy settlement
    (U.S. C-block auction). (1999)
   Advised the Colombian government on efficient auction design for PCS service.
    (1998)
   Provided bid strategy advice to bidder in the Brazil B block auction (1998)


CONFERENCE AND OTHER INVITED PRESENTATIONS
   Georgetown Center for Business and Public Policy, “Airline Competition
    Conference,” Panelist, July 2017.
   Invited speaker at the 2017 IATA Legal Symposium, Washington, D.C., February
    2017.
   Invited speaker at Jones Day 2014 Railway Labor Act Symposium, Washington, D.C.,
    May 1, 2014.
   Invited speaker at Jones Day 2013 Railway Labor Act Symposium, Washington, D.C.,
    May 9, 2013.
   University of Vigo, Spain, July 2011.
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   International Industrial Organization Conference, Boston, April 2011.
   Invited speaker at American Bar Association, Section of Public Utility,
    Communications and Transportation Law: An Update on Competition Analysis in
    Regulated Industries. Washington, D.C., March 7, 2011.
   Hamburg Aviation Conference (invited speaker), Hamburg Germany, February 11,
    2010.
   Embraer Semi-Annual AMA’s Meeting (invited speaker), Sao Jose dos Campos,
    Brazil, May 29, 2007.
   International Industrial Organization Conference, Atlanta, April 2005.
   American Economic Association Winter Meetings, Philadelphia, January 2005.
   International Industrial Organization Conference, Chicago, April 2004.
   Southern Economics Association Annual Conference, San Antonio, November 2003.
   Federal Reserve Bank of Chicago (invited speaker), June 2003.
   International Industrial Organization Conference, Boston, April 2003.
   Stony Brook International Game Theory Conference, July 1997


Conference Service:


   Session Organizer and Chair, International Industrial Organization Conference,
    Boston, April 2011.
   Session Chair, International Industrial Organization Conference, Atlanta, April 2005.
   Session Organizer and Chair, American Economic Association Meetings,
    Philadelphia, January 2005.
   Session Organizer and Chair, International Industrial Organization Conference,
    Chicago, April 2004
   Discussant, International Industrial Organization Conference, Boston, April 2004
   Discussant, Southern Economics Association Conference, San Antonio, November
    2003
   Discussant, International Industrial Organization Conference, Boston, April 2003



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Journal Referee For:


Journal of Industrial Economics, Review of Economics and Statistics, Southern Economic
Journal, Journal of Law, Economics & Organization, Economics Letters, Review of
Industrial Organization, Journal of Urban Economics, Journal of Transport Economics
and Policy, Telecommunications Policy, Journal of Air Transport Management


PROFESSIONAL AFFILIATIONS


       Sloan Industry Studies Affiliate


HONORS AND AWARDS
     Abramson Dissertation Prize, Department of Economics, Brown University, 1997
     Stephen Ehrlich Foundation Research Grant, Brown University, 1997
     Stephen Ehrlich Foundation Research Grant, Brown University, 1996




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       APPENDIX B: LIST OF DOCUMENTS AND INFORMATION SOURCES
                             CONSIDERED

CASE DOCUMENTS
1. Declaration of Jeff Carlson, September 25, 2017


ATLAS DOCUMENTS AND DATA
2. Transcript to June 30, 2016 ATAM podcast

3. Atlas Crew Schedule Data

4. Atlas Daily Delay Data

5. Atlas Flight Data

6. Atlas Pilot and Mechanic MEL and WriteUps Data

7. Atlas Unscheduled Maintenance Events Data

8. Atlas Payroll Data

9. Atlas Med Log Data

10. Atlas Open Time Data

11. Atlas Pilot Seniority List


PUBLICLY AVAILABLE DOCUMENTS, ARTICLES AND DATA
12. “Pilots for Amazon contractor picket Seattle HQ over staffing, contract issues”,
    SeattlePI.com, December 7, 2016 (http://www.seattlepi.com/business/article/Pilots-
    for-Amazon-contractor-picket-Seattle-HQ-10781699.php#photo-12007381).

13. “Pilots Who Fly Amazon Planes Suggest Company Might Not Deliver”, Bloomberg,
    December 16, 2016 (https://www.bloomberg.com/news/articles/2016-12-16/pilots-
    who-fly-amazon-planes-suggest-company-might-not-deliver).

14. “Amazon’s Pilot Union Warns that Some Orders May Not Be Delivered for the
    Holidays”, Good Morning America video clip
    (http://abcnews.go.com/GMA/video/amazons-pilots-union-warns-orders-delivered-
    time-holidays-44265844)
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15. http://canamazondeliver.com/.

16. CDC FluView Weekly Report, U.S. Centers for Disease Control and Prevention.
    http://www.cdc.gov/flu/weekly/overview.htm#Outpatient

17. Bureau of Transportation Statistics, Master Coordinate Data Table;
    https://www.transtats.bts.gov/Fields.asp

18. An Introduction to Probability and Its Applications, pages 140-144, Richard J. Larsen
    and Morris L. Marx, Prentice Hall. 1985.

19. “Teamsters Send Section 6 Notice to Atlas Air, Southern Air”, PR Newswire,
    February 24, 2016

20. wunderground.com (additional weather data).

21. masFlight.com (FAA Tracking Data)

22. “Atlas Air Worldwide Announces Agreement with Amazon To Provide Air Transport
    Service”, Atlas Air Worldwide Holdings Press Release, May 5, 2016

23. Local 1224 Executive Council Communications Committee;
    http://giantcomms.libsyn.com/podcast

24. Local 1224 Executive Council Communications Committee;
    http://giantcomms.libsyn.com/podcast/cba-chat-boot-0

25. Local 1224 Executive Council Communications Committee;
    http://giantcomms.libsyn.com/anchorage-cba-chat-chat

26. Atlas Air Worldwide Holdings (2016), Form 10-K 2016

27. American Airlines (2016), Form 10-K 2016

28. AAWW Investor Slides, September 2017

29. OAG database

30. Teamsters Local 1224 Press Release, July 6, 2017

31. “Pilots for Amazon contractor picket Seattle HQ over staffing, contract issues”,
    SeattlePI.com, December 7, 2016 (http://www.seattlepi.com/business/article/Pilots-
    for-Amazon-contractor-picket-Seattle-HQ-10781699.php#photo-12007381).




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32. “Pilots Who Fly Amazon Planes Suggest Company Might Not Deliver”, Bloomberg,
    December 16, 2016 (https://www.bloomberg.com/news/articles/2016-12-16/pilots-
    who-fly-amazon-planes-suggest-company-might-not-deliver).

33. “Amazon’s Pilot Union Warns that Some Orders May Not Be Delivered for the
    Holidays”, Good Morning America video clip
    (http://abcnews.go.com/GMA/video/amazons-pilots-union-warns-orders-delivered-
    time-holidays-44265844)




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Appendix C: REGRESSION USED TO CONSTRUCT CONFIDENCE BAND IN
                         EXHIBIT 15
                                                                             (1)

         Variables                                       Share of Flights Blocked Out Exactly at ETD


         Industry D0 Delay Rate                                            0.130**
                                                                          (0.0404)
         Monthly Atlas Departures                                         1.11e-06
                                                                         (2.16e-05)
         Daily Atlas Departures                                           0.000476
                                                                         (0.000299)
         Monthly Average Flight Time                                       0.0409*
                                                                          (0.0194)
         Monthly Block per Pilot                                         -0.00226*
                                                                         (0.00110)
         Daily Block Hours per Aircraft                                  -0.00552*
                                                                         (0.00251)
         Average Fleet Age                                                0.00125
                                                                         (0.00271)
         % of Aircraft Under Unscheduled Maintenance                        0.112
                                                                          (0.0880)
         New MELs per Aircraft                                             0.0310
                                                                          (0.0176)
         % ACMI                                                           -0.0184
                                                                          (0.0444)
         % DHL                                                            -0.0836
                                                                          (0.0610)
         % Military Passenger                                              0.0293
                                                                          (0.0656)
         Share 747 departures                                              0.0711
                                                                          (0.0625)
         % of Departures 7am-10am                                         -0.0725
                                                                          (0.0593)
         % of Departures 10am-3pm                                         -0.0385
                                                                          (0.0523)
         % of Departures 3pm-9pm                                           0.0155
                                                                          (0.0463)
         Extreme Heat                                                      -0.184
                                                                           (0.158)
         Extreme Cold                                                      -0.103*
                                                                          (0.0473)
         Rain                                                            -0.000374
                                                                         (0.00243)
         Snow                                                             -0.0357
                                                                           (0.107)
         Constant                                                         -0.0828
                                                                           (0.124)

         Observations                                                      1,507
         R-Squared                                                         0.233
         Robust standard errors in parentheses
         ** p<0.01, * p<0.05
        Data from January 1, 2012 to February 15, 2016. Flights with neither
        uncontrollable delays nor secondary delays. Percent of flights leaving exactly
        at the ETD defined as flights that block-out during the same minute of the
        ETD. Day of week, week of year, and departure airport fixed effects not
        shown.




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  Appendix D: ROBUSTNESS TESTS FOR EXTENDED DELAY REGRESSION
                                             (1)            (2)            (3)            (4)             (5)                        (6)
                                                                                                    Base Model with Base Model with Additional Controls
                                         Domestic      International    4+ Hour        8+ Hour
                                                                                                       Additional     and Flights with Uncontrollable
Variables                               Sub-Sample      Sub-Sample     Delay Rate     Delay Rate
                                                                                                        Controls          and Secondary Delays

D(Feb. 16, 2016 to Nov. 30, 2016)         0.000733       0.000445       0.000693       -0.000239       0.000973                    0.0124**
                                          (0.00232)      (0.00193)      (0.00180)       (0.00144)      (0.00184)                  (0.00439)
D(post-Dec. 1 2016)                       0.00787**       0.0192**       0.0143**        0.0106**       0.0126**                   0.0500**
                                          (0.00239)      (0.00261)      (0.00195)       (0.00163)      (0.00206)                  (0.00474)
Industry D0 Delay Rate                     0.00491         0.0122         0.0150          0.0124         0.0116                    0.0659*
                                           (0.0176)       (0.0157)       (0.0144)        (0.0115)       (0.0131)                   (0.0301)
Monthly Block per Pilot                   0.000388      0.000836**     0.000867**      0.000555**     0.000666**                  0.00418**
                                         (0.000302)     (0.000222)     (0.000208)      (0.000168)     (0.000191)                 (0.000434)
Long AOS Rate                               0.135**        0.168**        0.216**         0.137**        0.163**                     0.126*
                                           (0.0394)       (0.0384)       (0.0319)        (0.0247)       (0.0275)                   (0.0628)
% Amazon/DHL                                                                                            -0.00580                   -0.212**
                                                                                                        (0.0102)                   (0.0246)
% Military                                                                                               -0.0162                   -0.169**
                                                                                                        (0.0111)                   (0.0298)
Rain                                                                                                   -8.86e-05                  -0.00219
                                                                                                      (0.000780)                  (0.00234)
Snow                                                                                                      0.0313                      0.172
                                                                                                        (0.0424)                    (0.103)
Extreme Heat                                                                                             -0.0399                    -0.0365
                                                                                                        (0.0497)                    (0.131)
Extreme Cold                                                                                              0.0176                     0.0392
                                                                                                        (0.0170)                   (0.0373)
D(Sunday)                                   0.00232       0.00300       0.00482*        0.00339         0.00284                     0.0104
                                          (0.00285)      (0.00261)      (0.00232)      (0.00185)       (0.00215)                  (0.00574)
D(Monday)                                   0.00195      8.33e-05       0.000183         0.00183       0.000691                    0.0171**
                                          (0.00259)      (0.00222)      (0.00197)      (0.00161)       (0.00176)                  (0.00456)
D(Tuesday)                                  0.00158       0.00151        0.00183        0.00137         0.00147                    0.00535
                                          (0.00262)      (0.00247)      (0.00211)      (0.00169)       (0.00190)                  (0.00448)
D(Wednesday)                              -3.50e-05       0.00218        0.00225       -0.000151       0.000824                    0.00437
                                          (0.00241)      (0.00231)      (0.00206)      (0.00154)       (0.00182)                  (0.00425)
D(Thursday)                                 0.00199       0.00373        0.00377        0.00205         0.00213                    0.00103
                                          (0.00248)      (0.00238)      (0.00210)      (0.00171)       (0.00179)                  (0.00393)
D(Friday)                                  -0.00113      -0.00116       -0.00191        -0.00144        -0.00129                   0.0164**
                                          (0.00217)      (0.00224)      (0.00189)      (0.00150)       (0.00165)                  (0.00426)
Constant                                    -0.0144      -0.0419**      -0.0396**      -0.0269**       -0.0273**                   -0.0384
                                           (0.0151)       (0.0116)       (0.0109)      (0.00884)       (0.00997)                   (0.0245)

Observations                               2,089          2,089           2,089          2,089           2,086                     2,086
R-Squared                                  0.040          0.104           0.111          0.087           0.097                     0.251
Robust standard errors in parentheses
** p<0.01, * p<0.05
Data through September 19, 2017. Week of year fixed effects not shown. Base model includes flights with neither uncontrollable delays nor secondary
delays. Delays are measured relative to STD.




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                     Appendix E: 767 PILOT SICK RATE REGRESSIONS
                                            (1)                          (2)                           (3)
Variables                           767 pilot Sick Rate         767 Captain Sick Rate     767 First Officer Sick Rate


D(post-February 16, 2016)                 -0.00226                     -0.00275                     0.00244
                                         (0.00118)                    (0.00177)                    (0.00148)
D(Dec. 16-20, 2016)                       0.0241**                      0.0197*                     0.0268**
                                         (0.00524)                    (0.00970)                    (0.00341)
National Flu Index                       0.00282**                     0.00250*                    0.00206*
                                        (0.000610)                    (0.00101)                   (0.000839)
Monthly Block per Pilot                 0.000426**                     0.000196                    0.00109**
                                        (0.000148)                   (0.000200)                   (0.000164)
Monthly Average Flight Time              -0.00751*                     -0.0105*                    -0.00146
                                         (0.00305)                    (0.00459)                    (0.00382)
D(Sunday)                                -3.04e-05                   -0.000475                     0.000327
                                         (0.00107)                    (0.00154)                    (0.00137)
D(Monday)                                0.000150                     -0.000131                    0.000407
                                         (0.00108)                    (0.00163)                    (0.00135)
D(Tuesday)                                 0.00102                     0.000336                      0.00164
                                         (0.00111)                    (0.00166)                    (0.00138)
D(Wednesday)                               0.00168                      0.00167                      0.00157
                                         (0.00113)                    (0.00165)                    (0.00142)
D(Thursday)                              0.000768                       0.00101                    0.000287
                                         (0.00110)                    (0.00167)                    (0.00138)
D(Friday)                                0.000495                      0.000662                    0.000262
                                         (0.00115)                    (0.00173)                    (0.00140)
Constant                                   0.0389*                     0.0612**                     -0.00985
                                          (0.0153)                     (0.0231)                     (0.0189)

Observations                               1,358                        1,358                         1,358
R-Squared                                  0.221                        0.187                         0.194
Robust standard errors in parentheses
Regression based on period from Jan. 1, 2014 to Sep. 19, 2017. Week of year fixed effects not shown
** p<0.01, * p<0.05




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